08-13555-mg        Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                               Pg 1 of 75
                                              Hearing Date: TBD
                                              Objection Deadline: TBD

Dennis F. Dunne
Dennis C. O’Donnell
Evan R. Fleck
MILBANK, TWEED, HADLEY & McCLOY LLP
1 Chase Manhattan Plaza
New York, New York 10005
Telephone: (212) 530-5000

and

Paul Aronzon
MILBANK, TWEED, HADLEY & McCLOY LLP
601 South Figueroa Street, 30th Floor
Los Angeles, California 90017
Telephone: (213) 892-4000

Counsel for Official Committee of Unsecured
Creditors of Lehman Brothers Holdings Inc., et al.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------------- x
                                                               :
In re:                                                         :      Chapter 11 Case No.
                                                               :
LEHMAN BROTHERS HOLDINGS INC., et al., :                              08-13555 (JMP)
                                                               :
                               Debtors.                        :      (Jointly Administered)
                                                               :
-------------------------------------------------------------- x

     THIRD APPLICATION OF MILBANK, TWEED, HADLEY & McCLOY LLP,
    COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR
  INTERIM APPROVAL AND ALLOWANCE OF COMPENSATION FOR SERVICES
 RENDERED AND FOR REIMBURSEMENT OF EXPENSES DURING PERIOD FROM
        JUNE 1, 2009 THROUGH AND INCLUDING SEPTEMBER 30, 2009



Name of Applicant:                                   Milbank, Tweed, Hadley & McCloy LLP

Authorized to Provide
Professional Services to:                            Official Committee of Unsecured Creditors

Date of Retention:                                   November 18, 2008 (effective as of September 17,
                                                     2008)


                                                         1
08-13555-mg     Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00           Main Document
                                         Pg 2 of 75


Period for which compensation
and reimbursement is sought:                June 1, 2009 – September 30, 2009

Amount of Compensation
requested:                                  $10,881,540.00

Amount of Expense
Reimbursement requested:                    $583,803.10

This is an: X    interim _____ final application.

This is the third interim fee application filed by Milbank, Tweed, Hadley & McCloy LLP in these
cases.




                                               2
       08-13555-mg           Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                     Main Document
                                                         Pg 3 of 75


                          THIRD INTERIM FEE APPLICATION OF MILBANK, TWEED,
                              C
               HADLEY & M CLOY LLP: AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
                         CREDITORS OF LEHMAN BROTHERS HOLDINGS INC., ET AL.
                                  (JUNE 1, 2009 – SEPTEMBER 30, 2009)


                                                                  Hourly Rate1          Total Hours Total Compensation
       Name                  Position; Experience
Paul Aronzon            Financial Restructuring Partner                         $995              56.90                   $56,615.50
                        for 19 years; admitted in 1979.
Dennis Dunne            Financial Restructuring Partner                         $995            397.50                   $395,512.50
                        for 10 years; admitted in 1991.
Robert Jay Moore        Financial Restructuring Partner                         $995               6.90                    $6,865.50
                        for 12 years; admitted in 1977.
Richard Sharp           Litigation Partner for 18 years;                        $995               7.70                    $7,661.50
                        admitted in 1984.
John Walker             Global Finance Partner for 8                            $995            258.90                   $257,605.50
                        years; admitted in 1987.
Gary Wigmore            Global Project Finance Partner                          $995               2.50                    $2,487.50
                        for 19 years; admitted in 1983.
Richard Gray            Global Finance Partner for 18;                          $950              11.40                   $10,830.00
                        admitted in 1982.
Elizabeth Besio         Global Finance Partner for 12                           $950            107.50                   $102,125.00
Hardin                  years; admitted in 1996.
Stuart Harray           Global Corporate Partner for 2                          $950              43.20                   $41,040.00
                        years; admitted in 1993.
L. Douglas Harris       Global Project Finance Partner                          $950               6.70                    $6,365.00
                        for 19 years; admitted in 1980
Thomas Janson           Global Corporate Partner for 6                          $950               2.00                    $1,900.00
                        years; admitted in 1982.
Dale Ponikvar           Tax Partner for 19 years;                               $950            220.80                   $209,760.00
                        admitted in 1981.
Nicholas James          Financial Restructuring Partner                         $925              11.80                   $10,915.00
Angel                   for 1 year; admitted in 1986.
Peter Benudiz           Global Corporate Partner for                            $925            107.30                    $99,252.50
                        16 years; admitted in 1987.
Julian Stait            Litigation Partner for 1 year;                          $925              57.10                   $52,817.50
                        admitted in 1988.
Winthrop Brown          Global Finance Partner for 26                           $900            131.00                   $117,900.00
                        years; admitted in 1975.
David Cohen             Litigation Partner for 7 years;                         $900            416.80                   $375,120.00
                        admitted in 1994.
Robert Finkel           Global Corporate Partner for                            $900              86.00                   $77,400.00
                        13 years; admitted in 1988.
        1
                  Effective January 1, 2009, Milbank implemented an annual increase in billing rates for all Partners,
                  Of Counsel, Associates and Paraprofessionals. The hourly rate listed here reflects this increase.


                                                                   3
       08-13555-mg      Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00    Main Document
                                                 Pg 4 of 75



David Lamb          Global Corporate Partner for             $900        88.10           $79,290.00
                    19 years; admitted in 1992.
Eric Moser          Global Finance Partner for 10            $900       166.90          $150,210.00
                    years; admitted in 1991.
Langdon Van         Global Finance Partner for 9             $900         1.70            $1,530.00
Nordon              years; admitted in 1992.
Andrew Walker       Tax Partner for 6 years;                 $900        38.30           $34,470.00
                    admitted in 1995.
Paul Wessel         Tax Partner for 13 years;                $900        36.00           $32,400.00
                    admitted in 1988.
David Perkins       Litigation Partner for 32 years;         $885         3.40            $3,009.00
                    admitted in 1969.
Wilbur Foster       Financial Restructuring Partner          $875       680.10          $595,087.50
                    for 18 years; admitted in 1982.
Crayton Bell        Global Corporate Partner for 6           $850        18.00           $15,300.00
                    year; admitted in 1992.
Catherine Marsh     Global Project Finance Partner           $850         6.80            $5,780.00
                    for 4 years; admitted in 1995.
David Wolfson       Global Corporate Partner for 5           $850       124.70          $105,995.00
                    years; admitted in 1994.
Stacey J. Rappaport Litigation Partner for 5 years;          $825         6.30            $5,197.50
                    admitted in 1997.
Brett Goldblatt     Global Corporate Partner for 4           $825        18.00           $14,850.00
                    years; admitted in 1998.
James Warbey        Global Finance Partner for 4             $825       390.10          $321,832.50
                    years; admitted in 1996.
Debra Alligood      Global Corporate Partner for 3           $825        37.40           $30,855.00
White               years; admitted in 1993.
Andrew Leblanc      Litigation Partner for 2 years;          $800         3.20            $2,560.00
                    admitted in 1998.
Joshua Zimmerman Global Securities Partner for 3             $800         2.70            $2,160.00
                    years; admitted in 1997.
Russell Kestenbaum Tax Partner for 2 years;                  $775        46.20           $35,805.00
                    admitted in 1999.
Abhilash Raval      Financial Restructuring Partner          $775         2.00            $1,550.00
                    for 1 year; admitted in 2003.
Paul Denaro         Global Securities Partner for 1          $740        48.90           $36,186.00
                    year; admitted in 2000.
Risa Rosenberg      Financial Restructuring Of               $825        94.10           $77,632.50
                    Counsel for 7 years; admitted
                    in 1984.
Dennis O’Donnell Financial Restructuring Of                  $785       906.10          $711,288.50
                    Counsel for 2 years; admitted
                    in 1992.
Lisa Brabant        Real Estate Associate for 11             $685        18.70           $12,809.50
                    years; admitted in 1999.

                                                       4
       08-13555-mg     Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00    Main Document
                                                Pg 5 of 75


Cecilio Castillero Global Finance Associate for 9           $685        27.30           $18,700.50
                   years; admitted in 2001.
Robert Liubicic    Litigation Associate for 10              $685        77.70           $53,224.50
                   years; admitted in 1999.
Bradley Edmister   Global Securities Associate for          $685        10.50            $7,192.50
                   10 years; admitted in 2000.
Stephen Tudway     Litigation Associate for 11              $685       270.40          $185,224.00
                   years; admitted in 1998.
Lena Mandel        Senior Attorney; admitted in             $680       178.30          $121,244.00
                   1991.
Evan Fleck         Financial Restructuring                  $675      1009.00          $681,075.00
                   Associate for 8 years; admitted
                   in 2002.
Brian P. Kelly     Global Corporate Associate for           $675         3.90            $2,632.50
                   8 years; admitted in 2001.
Drew Batkin        Tax Associate for 7 years;               $650       263.30          $171,145.00
                   admitted in 2003.
David Levine       Global Corporate Associate for           $650        11.60            $7,540.00
                   7 years; admitted in 2002.
Stacey Mesler      Tax Associate for 7 years;               $650        10.00            $6,500.00
                   admitted in 2003.
Aaron Renenger     Litigation Associate for 3               $650        95.00           $61,750.00
                   years; admitted in 2002.
Adrian Azer        Litigation Associate for 6               $625       383.80          $239,875.00
                   years; admitted in 2003.
Irene Bogdashevsky Financial Restructuring                  $625        36.90           $23,062.50
                   Associate for 6 years; admitted
                   in 2004.
James Bulger       Financial Restructuring                  $625       189.90          $118,687.50
                   Associate for 6 years; admitted
                   in 2004.
Jonathan Goldstein Global Transportation Finance            $625        11.70            $7,312.50
                   Associate for 6 years; admitted
                   in 2004.
Erika Kuver-Del    Real Estate Associate for 6              $625        22.90           $14,312.50
Duca               years; admitted in 2004.
Jihay Kwack        Global Securities for 6 years;           $625       154.00           $96,250.00
                   admitted in 2004.
Daniel Lin         Global Corporate Associate for           $625         2.10            $1,312.50
                   6 years; admitted in 2001.
Neda Matar         Global Finance Associate for 6           $625         7.30            $4,562.50
                   years; admitted in 2004.
Samir Parikh       Financial Restructuring                  $625        92.90           $58,062.50
                   Associate for 6 years; admitted
                   in 2004.
Linda Robinson     Global Finance Associate for 6           $625        31.90           $19,937.50
                   years; admitted in 2007.

                                                     5
       08-13555-mg     Doc 6203    Filed 12/14/09 Entered 12/14/09 21:39:00    Main Document
                                               Pg 6 of 75


Brian Stern       Global Corporate Associate for           $625        26.80           $16,750.00
                  6 years; admitted in 2003.
Ben Clossick      Litigation Associate for 6               $625        62.00           $38,750.00
Thomson           years; admitted in 2001.
Peter Devonshire  Global Finance Associate for 5           $600       231.20          $138,720.00
                  years; admitted in 2007.
Melissa Gambol    Global Securities Associate for          $600       161.30           $96,780.00
                  5 years; admitted in 2007.
Peter Newman      Financial Restructuring                  $600        46.20           $27,720.00
                  Associate for 5 years; admitted
                  in 2005.
Sebastian Olk     Global Corporate Associate for           $600         1.50             $900.00
                  5 years; admitted in 2005.
Scott Rozic       Global Securities Associate for          $600        99.50           $59,700.00
                  5 years; admitted in 2004.
Naomi Slavinski   Tax Associate for 5 years;               $600         8.80            $5,280.00
                  admitted in 2005.
Melanie Westover Litigation Associate for 5                $600        34.80           $20,880.00
                  years; admitted in 2005.
Douglas Barnes    Global Corporate Associate for           $575        22.40           $12,880.00
                  4 years; admitted in 2006.
Jonah Crane       Global Corporate Associate for           $575        14.60            $8,395.00
                  4 years; admitted in 2006.
Jonathan Spader   Global Finance Associate for 4           $575         7.60            $4,370.00
                  years; admitted in 2006.
Gabriel M. Weaver Litigation Associate for 4               $575        27.70           $15,927.50
                  years; admitted in 2006.
John White        Litigation Associate for 4               $575       413.50          $237,762.50
                  years; admitted in 2006.
Simon Williams    Global Finance Associate for 4           $575       148.60           $85,445.00
                  years; admitted in 2008.
Nicholas Bassett  Litigation Associate for 3               $550       256.20          $140,910.00
                  years; admitted in 2007.
Victoria Boid     Global Finance Associate for 3           $550        53.30           $29,315.00
                  years; admitted in 2007.
Jonathan Brown    Global Finance Associate for 3           $550        50.30           $27,665.00
                  years; admitted in 2007.
Joyce Chang       Global Project Finance                   $550        17.00            $9,350.00
                  Associate for 3 years; admitted
                  in 2007.
Melissa Ann Clark Global Corporate Associate for           $550       136.60           $75,130.00
                  3 years; admitted in 2006.
Rachel Fink       Global Corporate Associate for           $550       152.30           $83,765.00
                  3 years; admitted in 2007.
Gabrielle Haddad  Global Corporate Associate for           $550         2.20            $1,210.00
                  3 years; admitted in 2007.


                                                    6
      08-13555-mg      Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00    Main Document
                                                Pg 7 of 75



Aluyah Imoisili    Litigation Associate for 3               $550        13.90            $7,645.00
                   years; admitted in 2006.
Shigeyuli Ito      Global Finance Associate for 3           $550         9.40            $5,170.00
                   years; admitted in 2007.
Gabriel Mpubani    Global Project Finance                   $550        26.00           $14,300.00
                   Associate for 3 years; admitted
                   in 2006.
Mary Santanello    Global Finance Associate for 3           $550        49.00           $26,950.00
                   years; admitted in 2007.
Jed Schwartz       Litigation Associate for 3               $550        21.40           $11,770.00
                   years; admitted in 2007.
Stephanie Sklar    Real Estate Associate for 3              $550
                   years; admitted in 2007.
Jeremy Sussman     Financial Restructuring                  $550        56.00           $30,800.00
                   Associate for 3 years; admitted
                   in 2007.
Husam Badawi       Global Securities Associate for          $515        44.50           $22,917.50
                   2 years; admitted in 2008.
Constance Beverley Litigation Associate for 2               $515       465.10          $239,526.50
                   years; admitted in 2008.
Gina Ciraldo       Global Finance Associate for 2           $515        13.70            $7,055.50
                   years; admitted in 2008.
David Eastlake     Financial Restructuring                  $515        85.00           $43,775.00
                   Associate for 2 years; admitted
                   in 2008.
Sofia Khan         Litigation Associate for 2               $515       288.50          $148,577.50
                   years; admitted in 2008.
Laura Kilian       Global Corporate Associate for           $515         4.00            $2,060.00
                   2 years; admitted in 2008.
Apoorv Kurup       Global Corporate Associate for           $515        58.70           $30,230.50
                   2 years; admitted in 2008.
Michael Lee        Global Securities Associate for          $515        67.10           $34,556.50
                   2 years; admitted in 2008.
Nicole Leyton      Tax Associate for 2 years;               $515        87.60           $45,114.00
                   admitted in 2008.
Michael Lynch      Global Corporate Associate for           $515       392.80          $202,292.00
                   2 years; admitted in 2007.
Heather Moore      Global Finance Associate for 2           $515         5.40            $2,781.00
                   years; admitted in 2008.
Lindsay Pinto      Litigation Associate for 2               $515       192.40           $99,086.00
                   years; admitted in 2008.
Charles Rubio      Financial Restructuring                  $515        84.80           $43,672.00
                   Associate for 2 years; admitted
                   in 2008.
Mikhel Schecter    Global Finance Associate for 2           $515        27.70           $14,265.50
                   years; admitted in 2008.

                                                     7
       08-13555-mg       Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00    Main Document
                                                  Pg 8 of 75


Andrew Sullivan      Global Securities Associate for          $515        99.80           $51,397.00
                     2 years; admitted in 2008.
Masamichi            Global Finance Associate for 2           $515         8.50            $4,377.50
Yamamoto             years; admitted in 2008.
Andrew Young         Financial Restructuring                  $515       465.90          $239,938.50
                     Associate for 2 years; admitted
                     in 2006.
Jeeseon Ahn          Global Finance Associate for 1           $440       104.70           $46,068.00
                     year; admitted in 2009.
Michael Applebaum Tax Associate for 1 year;                   $440         9.60            $4,224.00
                     admitted in 2009.
Kurt Avarell         Tax Associate for 1 year;                $440        38.60           $16,984.00
                     admitted in 2009.
Jennifer Beaudry     Global Securities Associate for          $440       106.30           $46,772.00
                     1 year; admitted in 2009..
Adlin Castro         Global Securities Associate for          $440        79.30           $34,892.00
                     1 year; admitted in 2009.
Andrea Conis         Financial Restructuring                  $440       560.40          $246,576.00
                     Associate for Associate for 1
                     year; admitted in 2009.
Ateesh Chanda        Litigation Associate for 1 year;         $440       324.40          $142,736.00
                     admitted in 2009.
Alecia Chen          Global Finance Associate for 1           $440         2.50            $1,100.00
                     year; admitted in 2009.
Michael Clarke       Global Finance Associate for 1           $440        93.90           $41,316.00
                     year; admitted in 2009.
Julie Constantinides Global Corporate Associate for           $440        77.40           $34,056.00
                     1 year; admitted in 2009.
Patten Courtnell     Global Corporate Associate for           $440        71.40           $31,416.00
                     1 year; admitted in 2009.
Frederick Cristman Global Corporate Associate for             $440        22.90           $10,076.00
                     1 year; admitted in 2009.
Erin Culbertson      Litigation Associate for 1 year;         $440        65.90           $28,996.00
                     admitted in 2009.
Robert Dickens       Global Finance Associate for 1           $440        66.90           $29,436.00
                     year; admitted in 2009.
Rachel Dobson        Litigation Associate for 1 year;         $440       286.50          $126,060.00
                     admitted in 2009.
Melanie Fox          Real Estate Associate for 1              $440         5.80            $2,552.00
                     year; admitted in 2009.
Joanna L. Grossman Tax Associate for 1 year;                  $440        25.20           $11,088.00
                     admitted in 2009.
Jared Joyce-         Financial Restructuring                  $440       494.70          $217,668.00
Schleimer            Associate for 1 year; admitted
                     in 2009.




                                                        8
       08-13555-mg     Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00    Main Document
                                                Pg 9 of 75



Peter Idziak      Financial Restructuring                   $440        85.20           $37,488.00
                  Associate for 1 year; admitted
                  in 2009.
Benjamin Keller   Real Estate Associate for 1               $440         3.90            $1,716.00
                  year; admitted in 2009.
Marianna          Global Securities Associate for           $440       209.10           $92,004.00
Kosharovsky       1 year; admitted in 2009.
Karen Kringen     Global Securities Associate for           $440        45.00           $19,800.00
                  1 year; admitted in 2009.
Alan Lawn         Financial Restructuring                   $440       262.00          $115,280.00
                  Associate for 1 year; admitted
                  in 2009.
Brian Lee         Global Finance Associate for 1            $440        70.30           $30,932.00
                  year; admitted in 2009.
Roger Lee         Financial Restructuring                   $440       145.00           $63,800.00
                  Associate for 1 year; admitted
                  in 2009.
Ulric Lewen       Global Securities Associate for           $440        87.20           $38,368.00
                  1 year; admitted in 2009.
Stephanie         Litigation Associate for 1 year;          $440        14.00            $6,160.00
Hutchinson        admitted in 2009.
Jan Nishizawa     Global Corporate Associate for            $440        52.70           $23,188.00
                  1 year; admitted in 2009.
Tanja L. Olano    Global Corporate Associate for            $440         2.40            $1,056.00
                  1 year; admitted in 2009.
Brendan Riley     Litigation Associate for 1 year;          $440       314.50          $138,380.00
                  admitted in 2009.
Joanne Robertson Global Finance Associate for 1             $440        79.90           $35,156.00
                  year; admitted in 2009.
Stephen Rose      Global Securities Associate for           $440        43.00           $18,920.00
                  1 year; admitted in 2009.
Anne Shutkin      Global Project Finance                    $440        24.30           $10,692.00
                  Associate for 1 year; admitted
                  in 2009.
Kashif Siddiqui   Global Corporate Associate for            $440        14.80            $6,512.00
                  1 year; admitted in 2009.
Matthew Squires   Global Securities Associate for           $440        42.60           $18,744.00
                  1 year; admitted in 2009.
Jeremy Steckel    Global Securities Associate for           $440       150.50           $66,220.00
                  1 year; admitted in 2009.
Stephanie Swanson Global Securities Associate for           $440       176.70           $77,748.00
                  1 year; admitted in 2009.
Diane Young       Financial Restructuring                   $440        37.10           $16,324.00
                  Associate for 1 year; admitted
                  in 2009.


                                                     9
       08-13555-mg     Doc 6203       Filed 12/14/09 Entered 12/14/09 21:39:00    Main Document
                                                 Pg 10 of 75



Samuel Giorgi       Financial Restructuring                   $440        19.70            $8,668.00
                    International Attorney.
Aluard Alegre       Summer Associate                          $235         8.70            $2,044.50
Matthew Brod        Summer Associate                          $235        10.90            $2,561.50
Matthew Chain       Summer Associate                          $235         4.70            $1,104.50
Bijan Ganji         Summer Associate                          $235        35.40            $8,319.00
Regina Gromen       Summer Associate                          $235         7.50            $1,762.50
Adam Heasley        Summer Associate                          $235         6.00            $1,410.00
Diane Henderson     Summer Associate                          $235         6.10            $1,433.50
Broderick Henry     Summer Associate                          $235        11.40            $2,679.00
Nicole J. Lee       Summer Associate                          $235        17.60            $4,136.00
Christina R. Totino Summer Associate                          $235         5.10            $1,198.50
Anthony Wong        Summer Associate                          $235         3.70              $869.50
John Yarwood        Summer Associate                          $235         6.00            $1,410.00
Abayomi A.          Case Manager                              $250        51.20           $12,800.00
Ayandipo
Monica Alston       Case Manager                              $245       173.70           $42,556.50
Oscar Castrillon    Case Manager                              $245       125.20           $30,674.00
Kathleen Heinsberg Case Manager                               $245        10.00            $2,450.00
Rena Ceron          Case Manager                              $210       177.50           $37,275.00

Richard Cosentino   Legal Assistant                           $270         1.00             $270.00

Randy Hooks         Legal Assistant                           $270        12.80            $3,456.00

Kim Strosser        Legal Assistant                           $270         9.10            $2,457.00

Charles Sheehah     Legal Assistant                           $260        38.40            $9,984.00

Patrice Metz        Legal Assistant                           $245         4.90            $1,200.50
Mayuko Ichihara     Legal Assistant                           $235        28.80            $6,768.00
Ken Forman          Legal Assistant                           $210         3.30             $693.00
Angel Anderson      Legal Assistant                           $185        14.00            $2,590.00

Paul Butters        Legal Assistant                           $185       107.50           $19,887.50

Jonathan Comick     Legal Assistant                           $170        17.10            $2,907.00
Maria Nunez         Legal Assistant                           $185
Peter Delfausse     Legal Assistant                           $170        28.40            $4,828.00

Bryn Fuller         Legal Assistant                           $170       163.30           $27,761.00

Benjamin Harris     Legal Assistant                           $170        18.40            $3,128.00
Elliot Law          Legal Assistant                           $170       183.60           $31,212.00
Charmaine Thomas    Legal Assistant                           $170       142.40           $24,208.00
Toi Carrion         Legal Assistant                           $160         2.80              $448.00

                                                    10
        08-13555-mg       Doc 6203         Filed 12/14/09 Entered 12/14/09 21:39:00                     Main Document
                                                      Pg 11 of 75


Alexander Fishman Legal Assistant                                             $160             48.30                  $7,728.00
Jason Hsu           Legal Assistant                                           $160             67.40                 $10,784.00
Lorena Lucero       Legal Assistant                                           $160              7.40                  $1,184.00
Kyle Martin         Legal Assistant                                           $160            273.40                 $43,744.00
Icsom Jones         Managing Attorney Clerk                                   $205
Jacqueline Brewster Managing Attorney Clerk                                   $165             37.80                  $6,237.00

Peter Windley      Consulting Partner                                         $850               2.50                 $2,125.00
Herman
Edward J. Mayle    Patent Agent                                               $235               2.50                       $587.50
Matthew Ottenstein Librarian                                                  $200               3.20                       $640.00

Robin Traylor         Librarian                                               $200             49.00                  $9,800.00

Miguel Checo          Litigation Support Specialist                           $295             32.70                  $9,646.50
Marcin Grabysz        Litigation Support Specialist                           $270             12.80                  $3,456.00
Rohan Lee             Litigation Support Specialist                           $260            227.10                 $59,046.00
Alexander             Litigation Support Specialist                           $260             21.50                  $5,590.00
Sacklowski
Rhodely Vallon        Litigation Support Specialist                           $260            170.30                 $44,278.00
Nga Phan              Litigation Support Specialist                           $245              3.50                    $857.50
Mitchell B. Gaines    Litigation Support Specialist                           $225             12.70                   $2857.50
Theartis Everett      Litigation Support Specialist                           $200              8.00                  $1,600.00
Maria Smilen          File Clerk                                              $115             19.90                  $2,288.50

Total                                                                   $577.13           18,854.50           $10,881,540.003
                                                                 (blended rate)2              hours




        2
                The blended rate excluding paraprofessionals is $631.49 per hour.
        3
                As is customary in connection with the preparation of this application, Milbank has reviewed the fees set
                forth in its Fee Statements, based on this review, the amount requested in the application is $278,869.50
                less than the fees set forth in the Fee Statements.


                                                                11
08-13555-mg       Doc 6203    Filed 12/14/09 Entered 12/14/09 21:39:00   Main Document
                                         Pg 12 of 75



              THIRD INTERIM FEE APPLICATION OF MILBANK, TWEED,
   HADLEY & MCCLOY LLP: AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
             CREDITORS OF LEHMAN BROTHERS HOLDINGS INC., ET AL.
                      (JUNE 1, 2009 – SEPTEMBER 30, 2009)




 ACTIVITY                                                    HOURS                 FEES
 Adequate Protection Issues                                     7.50            4,513.50
 Asset Sales                                                  146.50           93,923.50
 Automatic Stay Enforcement                                   342.90          190,997.00
 Business Plan Review and Analysis                             53.70           44,435.00
 Claims Analysis and Estimation                             2,450.80        1,145,488.50
 Committee Administration                                     526.10          337,833.50
 Committee Meetings                                           580.40          409,966.50
 Communication with Creditors                                 603.40          237,594.00
 Corporate Matters                                              2.80            1,442.00
 Court Hearings                                               338.30          164,179.00
 Debtor in Possession Meetings                                 49.60           36,793.50
 Derivative Issues                                          4,881.80        3,130,687.50
 DIP and Exit Financing                                         5.00            1,310.50
 Employee Issues                                               22.80           13,661.50
 Exclusivity Issues                                            66.70           43,147.00
 Executory Contracts                                           26.90           13,782.00
 Fee Committee Matters                                        200.30          105,901.00
 File, Docket and Calendar Maintenance                        559.40          152,010.50
 Insurance Matters                                              9.60            5,638.50
 International Insolvency                                     323.30          180,779.50
 Litigation                                                 2,159.20          998,154.00
 Pension Issues                                                 8.50            7,365.00
 Committee Retention Applications                             135.60           78,574.00
 Real Estate Matters                                        1,042.50          670,933.00
 Regulatory Issues                                              2.10            1,275.50
 Reorganization Plan                                           58.50           32,994.00

                                            12
08-13555-mg       Doc 6203    Filed 12/14/09 Entered 12/14/09 21:39:00   Main Document
                                         Pg 13 of 75


 Reporting Requirements                                        23.10           14,447.50
 Retention of Professionals                                    76.20           40,583.50
 Rule 2004 Examinations                                        90.90           60,106.00
 Secured Transactions                                           7.10            3,124.00
 Substantive Consolidation                                    143.70           95,339.00
 Tax Issues                                                   635.70          464,617.50
 Trading Book                                                 360.70          219,386.00
 Travel Time                                                   67.30           55,776.00
 Voidable Transfers and Other Potential Claims                 23.90           13,532.50
 German Bank Issues                                            30.00           19,654.00
 Japan Issues                                                  35.70           15,421.00
 China Issues                                                   1.10             863.50
 Intercompany Issue                                           183.70          104,042.00
 SIPC Issues                                                  193.80          110,046.00
 Bank Issues                                                  348.90          266,155.00
 LBI Sale                                                     162.90          115,787.50
 Neuberger Sale                                                 4.90            3,638.00
 UK Issues                                                  1,020.80          670,735.00
 Examiner Issues                                               96.40           60,326.00
 Bank Book                                                     29.80           16,768.00
 Private Equity Issues                                        381.70          263,350.50
 Cash Management Issues                                          .60             597.00
 Milbank Fee Statements and Applications                      331.40          163,865.00


 Total                                                     18,854.50      $10,881,540.00




                                             13
08-13555-mg     Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                   Main Document
                                           Pg 14 of 75



               THIRD INTERIM FEE APPLICATION OF MILBANK, TWEED,
                  C
    HADLEY & M CLOY LLP: AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
              CREDITORS OF LEHMAN BROTHERS HOLDINGS INC., ET AL.
                       (JUNE 1, 2009 – SEPTEMBER 30, 2009)


                DISBURSEMENTS                                                          AMOUNT
                Airfreight                                                             1,808.72
                Binding                                                                   380.00
                Cab Fares/Local Travel                                               29,460.811
                Computer Database Research                                           293,371.61
                Document Processing/Overtime                                          46,836.25
                Document Retrieval                                                     7,187.43
                Fees                                                                   9,252.05
                Mail                                                                       45.78
                Meals                                                                 20,166.85
                Messenger                                                              1,794.19
                Misc                                                                      631.58
                Outside Reproduction                                                   2,428.20
                Photocopies                                                          116,315.95
                Telephone/Telecopy                                                    16,075.56
                Transcripts                                                            3,089.60
                Travel                                                               34,958.522


                TOTAL DISBURSEMENTS                                                $583,803.10




1
      This amount reflects a reduction of $284.75 as per the recommended future guidelines contained in the
      Fee Committee report. Milbank reserves the right to seek reimbursement for the total amount of expenses
      incurred in connection with its representation of the Committee at a future date.
2
      This amount reflects a reduction of $3,794.68 as per the recommended future guidelines contained in the
      Fee Committee report. Milbank reserves the right to seek reimbursement for the total amount of expenses
      incurred in connection with its representation of the Committee at a future date.



                                                    14
08-13555-mg        Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00         Main Document
                                              Pg 15 of 75



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Dennis C. O’Donnell
Evan R. Fleck
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Counsel for Official Committee of Unsecured
Creditors of Lehman Brothers Holdings Inc., et al.


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- x
                                                               :
In re:                                                         :   Chapter 11 Case No.
                                                               :
LEHMAN BROTHERS HOLDINGS INC., et al., :                           08-13555 (JMP)
                                                               :
                               Debtors.                        :   (Jointly Administered)
                                                               :
-------------------------------------------------------------- x

     THIRD APPLICATION OF MILBANK, TWEED, HADLEY & McCLOY LLP,
    COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR
  INTERIM APPROVAL AND ALLOWANCE OF COMPENSATION FOR SERVICES
 RENDERED AND FOR REIMBURSEMENT OF EXPENSES DURING PERIOD FROM
        JUNE 1, 2009 THROUGH AND INCLUDING SEPTEMBER 30, 2009

TO THE HONORABLE JAMES M. PECK
UNITED STATES BANKRUPTCY JUDGE:

                 Milbank, Tweed, Hadley & McCloy LLP (“Milbank”), counsel to the Official

Committee of Unsecured Creditors (the “Committee”) of Lehman Brothers Holdings Inc.

(“LBHI”) and its affiliated debtors and debtors in possession in the above-captioned cases
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 16 of 75



(collectively, the “Debtors”), hereby submits its application (the “Application”), pursuant to

sections 330 and 331 of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

(as amended, the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), the Guidelines for Fees and Disbursements for Professionals in

Southern District of New York Bankruptcy Cases adopted by the Court on June 24, 1991 and

amended April 21, 1995 (together, the “Local Guidelines”), the United States Trustee Guidelines

for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

Under 11 U.S.C. § 330, effective January 30, 1996 (the “U.S. Trustee Guidelines”), the Third

Amended Order Pursuant to Sections 105(a) and 331 of the Bankruptcy Code and Bankruptcy

Rule 2016(a) Establishing Procedures for Interim Monthly Compensation And Reimbursement

Of Expenses of Professionals, dated June 25, 2009 (the “Interim Compensation Order”), and the

guidelines contained in the Fee Committee Report Pertaining to the First Interim Fee

Applications for All Retained Professionals, dated August 3, 2009 (the “First Fee Committee

Report”), for the allowance of interim compensation for professional services rendered from

June 1, 2009 through and including September 30, 2009 (the “Third Interim Compensation

Period”), and for reimbursement of expenses incurred in connection with such services, and in

support thereof respectfully represents as follows:

                                             I.
                                       INTRODUCTION

A.     Background

                1.     Bankruptcy Filing. On September 15, 2008 (the “Petition Date”), and

 periodically thereafter, the Debtors commenced the above-captioned chapter 11 cases (the

 “Chapter 11 Cases”). The Debtors’ chapter 11 cases have been consolidated for procedural

 purposes and are being jointly administered pursuant to Rule 1015(b) of the Federal Rules of



                                                 2
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00           Main Document
                                         Pg 17 of 75



 Bankruptcy Procedure (the “Bankruptcy Rules”). The Debtors are authorized to operate their

 businesses and manage their properties as debtors in possession pursuant to section 1107(a)

 and 1108 of the Bankruptcy Code.

                2.     Creditors’ Committee. On September 17, 2008, the United States Trustee

 appointed the Committee in the Chapter 11 Cases.

                3.     SIPA Trustee. On September 19, 2008, a proceeding (“SIPA

 Proceeding”) was commenced under the Securities Investor Protection Act of 1970 (“SIPA”)

 with respect to Lehman Brothers Inc. (“LBI”), a wholly owned subsidiary of LBHI and a

 registered broker dealer. James W. Giddens, Esq. is the trustee appointed under SIPA (the

 “SIPA Trustee”) and is administering LBI’s estate.

                4.     Examiner. The United States Bankruptcy Court for the Southern District

 of New York approved the appointment of Anton R. Valukas as examiner (the “Examiner”) in

 the Chapter 11 Cases in the Order Approving the Appointment of Examiner dated January 20,

 2009.

                5.     Fee Committee. The United States Bankruptcy Court for the Southern

 District of New York appointed a fee committee (the “Fee Committee”) and approved a fee

 protocol (the “Fee Protocol”) in the Chapter 11 Cases on May 26, 2009.

                6.     Jurisdiction. This Court has jurisdiction over this matter pursuant to 28

 U.S.C. §§ 157 and 1334. Venue of the Chapter 11 Cases is proper pursuant to 28 U.S.C. §§

 1408 and 1409. This matter is a core proceeding under 28 U.S.C. § 157(b)(2). The statutory

 predicates for the relief sought herein are sections 330 and 331 of the Bankruptcy Code.

 Pursuant to the Local Guidelines, a certification regarding compliance with the Local

 Guidelines is attached hereto as Exhibit “A.”




                                                 3
08-13555-mg         Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                   Main Document
                                               Pg 18 of 75



B.        Retention of Milbank and Billing History

                   7.       Authorization for Milbank’s Retention. On November 5, 2008, pursuant

    to the Interim Order Under 11 U.S.C. § 1103 And Fed. R. Bankr. P. 2014 And 5002

    Authorizing The Retention And Employment Of Milbank, Tweed, Hadley & McCloy LLP, As

    Counsel For The Official Committee Of Unsecured Creditors Effective As Of September 17,

    2008 (the “Retention Order”), the Court authorized Milbank’s retention as counsel for the

    Committee in these cases. The Retention Order, which became a final order on November 21,

    2008, authorized Milbank to receive compensation pursuant to the procedures set forth in the

    Bankruptcy Code, the Bankruptcy Rules, the Local Guidelines, the U.S. Trustee Guidelines, and

    the local rules and orders of this Court.

                   8.       First Interim Fee Application. On April 10, 2009, Milbank filed its First

    Application Of Milbank, Tweed, Hadley & McCloy LLP, Counsel to Official Committee of

    Unsecured Creditors, For Interim Approval And Allowance Of Compensation For Services

    Rendered And For Reimbursement Of Expenses During Period From September 17, 2008

    Through And Including January 31, 2009 (the “First Interim Fee Application”). In the First

    Interim Fee Application, Milbank requested (i) allowance of compensation for professional

    services rendered during the period from September 17, 2008 Through And Including January

    31, 2009 (the “First Interim Compensation Period”) in the total amount of $12,123,376.00,1 and

    (ii) reimbursement of its actual and necessary expenses incurred during the First Interim

    Compensation Period in the amount of $668,388.72. Pursuant to the Interim Compensation

    Order, Milbank received payment in the amount of $10,397,943.56 during the First Interim


1
          Milbank voluntarily reduced its fees for the First Interim Compensation Period by $129,111.00. However,
          Milbank reserved the right to seek the allowance of all or a portion of such fees at a later date.




                                                         4
08-13555-mg              Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                       Main Document
                                                    Pg 19 of 75



        Compensation Period. On August 5, 2009, the Court approved the First Interim Fee

        Application, subject to a ten percent holdback pursuant to the recommendation of the Fee

        Committee.2

                        9.       Second Interim Fee Application. On August 14, 2009, Milbank filed its

        Second Application Of Milbank, Tweed, Hadley & McCloy LLP, Counsel to Official Committee

        of Unsecured Creditors, For Interim Approval And Allowance Of Compensation For Services

        Rendered And For Reimbursement Of Expenses During Period From February 1, 2009 Through

        And Including May 31, 2009 (the “Second Interim Fee Application”). In the Second Interim

        Fee Application, Milbank requested (i) allowance of compensation for professional services

        rendered during the period from February 1, 2009 Through And Including May 31, 2009 (the

        “Second Interim Compensation Period”) in the total amount of $16,829,521.00,3 and (ii)

        reimbursement of its actual and necessary expenses incurred during the Second Interim

        Compensation Period in the amount of $1,019,754.61. Pursuant to the Interim Compensation

        Order, Milbank received payment in the amount of $14,582,737.21 during the Second Interim

        Compensation Period. On September 25, 2009, the Court approved the Second Interim Fee

        Application, subject to a ten percent holdback pursuant to the recommendation of the Fee

        Committee.4

2
              During the Third Interim Compensation Period, Milbank worked with the Fee Committee to resolve the
              outstanding issues identified in Milbank’s individual report (the “Individual Summary Sheet) submitted in
              connection with the First Fee Committee Report. In response to such efforts, on September 10, 2009, the
              Fee Committee recommended that the Court release the ten percent holdback, minus a $69,990.04
              deduction.
    3
              Milbank voluntarily reduced its fees for the Second Interim Compensation Period by $154,700.25.
              However, Milbank reserved the right to seek the allowance of all or a portion of such fees at a later date.
    4
              According to the Fee Committee Report Pertaining to the Second Interim Fee Applications of All Retained
              Professionals (the “Second Fee Committee Report”), the Fee Committee recommends that the remaining
              ten percent be released upon the resolution of issues identified by the Fee Committee in Milbank’s
              Individual Summary Sheet submitted in connection with the Second Fee Committee Report. Milbank




                                                               5
08-13555-mg      Doc 6203       Filed 12/14/09 Entered 12/14/09 21:39:00                 Main Document
                                           Pg 20 of 75



                10.     Application. Milbank makes this third interim application for approval

 and allowance of compensation and reimbursement of expenses pursuant to sections 330 and

 331 of the Bankruptcy Code.

                11.     In accordance with the Interim Compensation Order, Milbank submitted

 monthly fee statements to the Debtors and the other requisite notice parties seeking interim

 compensation and reimbursement of expenses. During the Third Interim Compensation Period,

 Milbank submitted the following fee statements:

       (a)     On September 2, 2009, pursuant to the Interim Compensation Order, Milbank
               served its ninth fee statement for the period from June 1, 2009 through and
               including June 30, 2009 (the “Ninth Fee Statement”). The Ninth Fee Statement
               sought (i) an allowance of $3,494,254.50 as compensation for services rendered
               and (ii) the reimbursement of $196,038.14 in expenses. As of the date hereof,
               Milbank has received a total of $2,991,441.74, which represents payment for
               (i) 80% of Milbank’s fees and (ii) 100% of the expenses incurred pursuant to the
               Ninth Fee Statement.

       (b)     On October 5, 2009, pursuant to the Interim Compensation Order, Milbank served
               its tenth fee statement for the period from July 1, 2009 through and including July
               31, 2009 (the “Tenth Fee Statement”). The Tenth Fee Statement sought (i) an
               allowance of $2,852,220.50 as compensation for services rendered and (ii) the
               reimbursement of $175,125.85 in expenses. As of the date hereof, Milbank has
               received a total of $2,456,902.25, which represents payment for (i) 80% of
               Milbank’s fees and (ii) 100% of the expenses incurred pursuant to the Tenth Fee
               Statement.

       (c)     On November 2, 2009, pursuant to the Interim Compensation Order, Milbank
               filed and served its eleventh fee statement for the period from August 1, 2009
               through and including August 31, 2009 (the “Eleventh Fee Statement”). The
               Eleventh Fee Statement sought (i) an allowance of $2,417,488.50 as
               compensation for services rendered and (ii) the reimbursement of $98,318.17 in
               expenses. As of the date hereof, Milbank has received a total of $2,032,308.97,
               which represents payment for (i) 80% of Milbank’s fees and (ii) 100% of the
               expenses incurred pursuant to the Eleventh Fee Statement.

       (d)     On November 19, 2009, pursuant to the Interim Compensation Order, Milbank
               filed and served its twelfth fee statement for the period from September 1, 2009

       submitted a response to the Second Fee Committee Report and on December 10, 2009, the Fee Committee
       issued its final recommendation that the Court release the ten percent holdback, minus $311,734.82.




                                                    6
08-13555-mg         Doc 6203         Filed 12/14/09 Entered 12/14/09 21:39:00                     Main Document
                                                Pg 21 of 75



                  through and including September 30, 2009 (the “Twelfth Fee Statement” and,
                  together with the Ninth Fee Statement, Tenth Fee Statement and Eleventh Fee
                  Statement, the “Fee Statements”). The Twelfth Fee Statement sought (i) an
                  allowance of $2,396,446.00 as compensation for services rendered and (ii) the
                  reimbursement of $118,400.37 in expenses.

                    12.      Milbank has not entered into any agreement, express or implied, with any

    other party for the purpose of fixing or sharing fees or other compensation to be paid for

    professional services rendered in these cases. No promises have been received by Milbank or

    any member thereof as to compensation in connection with these cases other than in accordance

    with the provisions of the Bankruptcy Code.

                                                         II.

                                                APPLICATION

                    13.      By this Application, Milbank is seeking allowance of (a) compensation

    for professional services rendered by Milbank, as counsel for the Committee, during the Third

    Interim Compensation Period and (b) reimbursement of expenses incurred by Milbank in

    connection with such services during the Third Interim Compensation Period.

                    14.      In this Application, Milbank seeks approval of $10,881,540.005 for legal

    services rendered on behalf of the Committee during the Third Interim Compensation Period

    and $583,803.106 for reimbursement of expenses incurred in connection with the rendering of

    such services, for a total award of $11,465,343.10.

5
          The compensation sought by this Application reflects an aggregate voluntary reduction of $419,548.50,
          including, but not limited to, with respect to certain matters identified by the Fee Committee. Most
          significantly, Milbank has agreed, consistent with the one percent limitation imposed by the Fee
          Committtee, to reduce the fees it has incurred in connection with the preparation of Milbank fee statements
          and applications by $287,869.50. However, Milbank reserves the right to seek allowance of all or a portion
          of any such fees in connection with its request for final approval of its fees and expenses in these cases.
6
          This amount reflects a reduction of certain expenses pursuant to the Future Additional Guidelines adopted
          by the Fee Committee and contained in the First Fee Committee Report. Milbank reserves the right to seek
          reimbursement for the total amount of expenses incurred in connection with its representation of the
          Committee in connection with its request for final approval of its fees and expenses in these cases.




                                                          7
08-13555-mg         Doc 6203         Filed 12/14/09 Entered 12/14/09 21:39:00                     Main Document
                                                Pg 22 of 75



                    15.      Pursuant to the Interim Compensation Order, Milbank has already

    received payment of $7,480,652.96 during the Third Interim Compensation Period. Therefore,

    Milbank seeks authorization for the Debtors to make a total payment of $3,984,690.14 pursuant

    to this Application, which amount represents the portion of Milbank’s fees for legal services

    rendered and expenses incurred during the Third Interim Compensation Period not previously

    paid to Milbank pursuant to the Interim Compensation Order.7

                    16.      The fees sought by this Application reflect an aggregate of 18,854.50

    hours of attorney and paraprofessional time spent and recorded in performing services for the

    Committee during the Third Interim Compensation Period, at a blended average hourly rate of

    $577.13 for both professionals and paraprofessionals. The blended hourly rate for professionals

    only is $631.49.

                    17.      Milbank rendered to the Committee all services for which compensation

    is sought solely in connection with these cases, in furtherance of the duties and functions of the

    Committee.

                    18.      Milbank maintains computerized records of the time expended in the

    rendering of the professional services required by the Committee. These records are maintained

    in the ordinary course of Milbank’s practice. For the convenience of the Court and parties in

    interest, a billing summary for the Third Interim Compensation Period is attached as part of the

    cover sheet, setting forth the name of each attorney and paraprofessional for whose work on



7
          As is customary, in connection with the preparation of this Application, Milbank has reviewed the fees and
          expenses set forth in its Fee Statements. Based on this review and as a result of the matters raised by the
          Fee Committee, the amount requested herein on account of fees and expenses incurred by Milbank during
          the Third Interim Compensation Period is $419,548.50 less than the sum of fees and expenses set forth in
          the Fee Statements. Accordingly, subject to approval of the relief requested herein, Milbank will reduce its
          request for payment from the Debtors by such amount.




                                                           8
08-13555-mg          Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                       Main Document
                                                Pg 23 of 75



    these cases compensation is sought, each attorney’s year of bar admission, the aggregate of the

    time expended by each such attorney or paraprofessional, the hourly billing rate for each such

    attorney or paraprofessional at Milbank’s current billing rates, and an indication of the

    individual amounts requested as part of the total amount of compensation requested. In

    addition, set forth in the billing summary is additional information indicating whether each

    attorney is a partner, counsel or associate, the number of years each attorney has held such

    position, and each attorney’s area of concentration. Except as reduced voluntarily by Milbank,

    the compensation requested by Milbank is based on the customary compensation charged by

    comparably skilled practitioners in cases other than cases under the Bankruptcy Code.

                    19.      Attached hereto as Exhibit “B” are time entry records broken down in

    tenths of an hour by project category, based on the U.S. Trustee Guidelines, setting forth a

    detailed description of services performed by each attorney and paraprofessional on behalf of

    the Committee.8

                    20.      Milbank also maintains computerized records of all expenses incurred in

    connection with the performance of professional services. A summary of the amounts and

    categories of expenses for which reimbursement is sought, as well as a breakdown of expenses

    by project category and detailed descriptions of these expenses, are attached hereto as

    Exhibit “C.”

                                                          III.

                    SUMMARY OF PROFESSIONAL SERVICES RENDERED

                    21.      To provide an orderly summary of the services rendered on behalf of the


8
          Due to the volume of the time and expense records, and consistent with the Interim Compensation Order,
          these materials are not being filed with the Court, but copies thereof have been delivered to (i) the Court;
          (ii) counsel for the Debtors; and (iii) the members of the Fee Committee.




                                                            9
08-13555-mg      Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 24 of 75



 Committee by Milbank, and in accordance with the U.S. Trustee Guidelines, Milbank has

 established the following separate project billing categories in connection with these cases:

   00100               Adequate Protection Issues
   00200               Asset Sales
   00300               Automatic Stay Enforcement & Litigation
   00400               Business Plan Review and Analysis
   00500               Change of Control Transactions
   00600               Chapter 7 Issues
   00700               Claims Analysis and Estimation
   00800               Committee Administration
   00900               Committee Meetings
   01000               Communication with Creditors
   01100               Corporate Matters
   01200               Court Hearings
   01300               Customer Contracts & Programs
   01400               Debtor-in-Possession Meetings and Communications
   01500               Derivatives Issues
   01600               DIP and Exit Financing
   01700               Disclosure Statement
   01800               Employee Issues
   01900               Environmental Issues
   02000               Equipment/Personal Property Leases
   02100               Estimation Issues
   02200               Exclusivity Issues
   02300               Executory Contracts
   02400               Fee Applications and Fee Committee Matters
   02500               File, Docket & Calendar Maintenance
   02600               Insurance Matters
   02700               International Insolvency Matters
   02800               Litigation
   02900               Pension Issues
   03000               Committee Retention Applications
   03100               Real Estate Matters
   03200               Regulated Business Asset Sales
   03300               Regulatory Issues
   03400               Reorganization Plan
   03500               Reporting Requirements
   03600               Retention of Professionals
   03700               Rule 2004 Examinations
   03800               SEC Investigations and Securities Litigation
   03900               Secured Transactions
   04000               Substantive Consolidation
   04100               Tax Issues
   04200               Trading Book



                                                10
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 25 of 75



   04300              Travel Time
   04400              Trustee Issues
   04500              Utilities Matters
   04600              Vendor Issues
   04700              Voidable Transfers and Other Potential Claims
   04800              German Bank Issues
   04900              Japan Issues
   05000              China Issues
   05100              Intercompany Issues
   05200              SIPC Issues
   05300              Bank Issues
   05400              LBI Sale
   05500              Neuberger Sale
   05600              UK Issues
   05700              Equity Committee
   05800              Examiner Issues
   05900              Bank Book
   06000              Private Equity
   06100              Cash Management
   06200              Milbank Fee Statements and Applications

                22.    The following summary is intended only to highlight key services

 rendered by Milbank in certain project billing categories where Milbank has expended a

 considerable number of hours on behalf of the Committee, and is not meant to be a detailed

 description of all of the work performed. Detailed descriptions of the day-to-day services

 provided by Milbank and the time expended performing such services in each project billing

 category are fully set forth in Exhibit “B” hereto. Such detailed descriptions demonstrate that

 Milbank was heavily involved in the performance of services for the Committee on a daily

 basis, including night and weekend work, often under extreme time constraints, to meet the

 needs of the Committee in these cases. The sheer magnitude of matters in these Chapter 11

 Cases has required and continues to require substantial and continuing efforts on the part of the

 Committee and its professional advisors, including Milbank, to address the many complex

 issues and problems that are presented by these extraordinary and complex cases.




                                                11
08-13555-mg      Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00           Main Document
                                            Pg 26 of 75



A.     Adequate Protection Issues

                23.     The Committee and its professionals worked in tandem with the Debtors

 and the Debtors’ professionals to address the myriad challenges arising during the Third Interim

 Compensation Period. Among these challenges were DnB Nor Bank ASA’s (“DnB”) motion

 for allowance and payment of an administrative expense claim amounting to the equivalent of

 approximately $16.5 million for a loss DnB claimed to have incurred on account of the failure

 of adequate protection and for allowance of setoff of such claim (the “DnB Motion”). In

 response thereto, at the direction of the Committee, Milbank drafted and filed an objection

 [Docket No. 4323]. Milbank also coordinated with the Debtors in the drafting of a

 supplemental letter brief in opposition regarding the right of setoff in further response to the

 DnB Motion [Docket No. 5063]. On September 25, 2009, the Court entered an order denying

 the DnB Motion for the reasons advanced by the Committee and the Debtors.

B.     Asset Sales

                24.     During the Third Interim Compensation Period, the Committee and its

 professionals continued their evaluation of multiple complex asset sale transactions. On behalf

 of the Committee, Milbank’s Employee Benefits, Financial Restructuring, Global Corporate,

 Intellectual Property, Tax, Strategic Sourcing and Technology and other practice groups worked

 closely with the Committee’s financial advisors, FTI Consulting Inc. (“FTI”) and Houlihan

 Lokey Howard & Zukin Financial Advisors, Inc. (“Houlihan”), to analyze proposed

 transactions, negotiate for enhanced asset sale values and terms for the unsecured creditors of

 each of the Debtors’ estates.

                25.     Milbank reviewed and analyzed numerous transactions during the Third

 Interim Compensation Period, including aircraft sale transactions, the sale of a Netherlands-




                                                 12
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00           Main Document
                                         Pg 27 of 75



 based mortgage loan and servicing company, and Lehman’s interest in certain other assets, as

 described more fully below. Milbank worked to maximize the value of the assets sold by both

 zealously advocating for the interests of unsecured creditors of each of the Debtors and working

 cooperatively with the Debtors to prevent deterioration in asset value occasioned by delay.

 Throughout the Third Interim Compensation Period, Milbank drafted and disseminated

 memoranda to the Committee analyzing proposed transactions and providing the Committee

 with recommended courses of action.

                26.    ELQ Sale. Milbank attorneys spent significant time in connection with

 the proposed organized run-down of the business of ELQ Hypotheken N.V.(“ELQ”), followed

 by the sale of the ELQ and its subsidiaries, ELQ Portefeuille I B.V. (“Portefeuille”) and Quion

 50 B.V. (“Quion” and together with ELQ and Portefeuille, the “ELQ Group”) to its current

 managers (“Management”).

                27.    With respect to the wind down of the business of ELQ and the sale of the

 ELQ Group to Management, Milbank worked in close communication with Debtors’ counsel to

 review and analyze the terms of the run-off agreement and the conditional share transfer

 agreement, along with related ancillary documents. Milbank also spent considerable time

 conducting due diligence to understand the issues associated with whether LBHI had any claim

 to challenge some portion of the creditor’s security interest under the ELQ Group’s loan

 facilities.

                28.    Milbank also briefed the Committee regarding the terms of the run-off

 agreement and the conditional share transfer agreement and the potential issues related to the

 run-off of ELQ and the sale of the ELQ Group through the distribution of memoranda.




                                                13
08-13555-mg      Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                         Pg 28 of 75



C.     Automatic Stay Enforcement

                29.     During the Third Interim Compensation Period, Milbank reviewed the

 numerous motions filed by parties in interest seeking to lift the automatic stay to enforce

 various contractual agreements or otherwise exercise rights against the Debtors’ estates. In

 connection therewith, Milbank drafted and filed, on behalf of the Committee, a joinder to the

 Debtors’ objection to the motion of Kalaimoku-Kuhio Development Corp., which sought,

 among other things, relief from the automatic stay in order to foreclose on commercial real

 estate being leased by a Debtor [Docket No. 4450].

D.     Business Plan Review and Analysis

                30.     During the Third Interim Compensation Period, at the request of the

 Committee, Milbank began reviewing and analyzing the myriad issues in connection with a

 potential business plan for the Debtors, including the Debtors’ proposal to form an asset

 management company to manage the estates’ assets. Milbank worked in tandem with the

 Committee’s financial advisors to identify issues related to the formation, structure and function

 of such an asset management company and craft solutions in response to such issues that were

 subsequently discussed and negotiated with the Debtors and their professionals.

E.     Claims Analysis

                31.     Milbank continued, during the Third Interim Compensation Period, to

 expand and refine the database of the Debtors’ debt offering documents (“Database”) that was

 created and developed during the First and Second Interim Compensation Periods. Milbank

 continued to use the Database to develop and present summary forensic capital structure

 information to the Committee and its advisors, as well as to answer individual queries from the

 Committee and the public about specific Lehman debt instruments. The Database is used by




                                                14
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00              Main Document
                                          Pg 29 of 75



 Milbank and the Committee’s financial advisors on a regular basis to determine and analyze the

 Debtors’ and certain foreign subsidiaries’ capital structures, review certain proofs of claim,

 establish a basis upon which to determine and validate claim amounts and analyze substantive

 consolidation, intercompany, preference and other potential issues. Milbank continued to

 review and analyze the debt securities and guarantees of LBHI and its affiliates in order to

 expand the Database with respect to Lehman Brothers Treasury Co. B.V. (“BV”) and to

 address issues related to Lehman securities raised by the Committee. Having access to the

 Database has proved invaluable to the Committee and its advisors, including with respect to the

 matters related to the Bar Date.

                32.     Milbank also drafted a number of memoranda to the Committee on

 certain current and anticipated disputes relating to the Debtors’ capital structure, including (i)

 guarantees of debt issued by BV and Lehman Brothers Securities N.V. by LBHI, (ii) English

 law issues relating to the debt of BV, and (iii) certain provisions of LBHI’s subordinated debt.

                33.     Bar Date Motion. Milbank continued its review and analysis of various

 issues raised with respect to the Debtors’ motion (the “Bar Date Motion”) to establish the

 deadline (the “Bar Date”) for filing proofs of claim (“Proofs of Claim”) in the Chapter 11 Cases

 and establish procedures therefor. At the request of the Committee, Milbank worked with the

 Debtors and parties in interest to cause the proposed procedures for filing Proofs of Claims to be

 modified to address concerns raised by the Committee on behalf of its constituency. On July 2,

 2009, this Court entered an order approving the Bar Date Motion, and the procedures contained

 therein for filing Proofs of Claim, as modified through the substantial efforts of Milbank in

 negotiating and brokering a compromise among the Debtors and numerous other parties.




                                                 15
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00              Main Document
                                          Pg 30 of 75



F.     Committee Administration

                34.     Milbank continued to maintain during the Third Interim Compensation

 Period an elaborate protocol developed earlier in these cases for the organization and delegation

 of the massive number of tasks involved in ensuring the Committee is kept aware and apprised

 of all aspects of these Chapter 11 Cases, including frequent meetings among internal team

 members and the maintenance of comprehensive rolling task lists, distribution lists, calendar

 notifications, project calendars and research status lists on a daily basis. Additionally, Milbank

 has established a system whereby substantive court filings are reviewed to provide the

 Committee with a comprehensive summary and analysis of each pleading filed in the Chapter

 11 Cases. Milbank’s efforts in setting up efficient and comprehensive methods of administering

 the Committee’s needs will ensure that the Committee has the logistical tools necessary to

 effectively carry out its fiduciary responsibilities to the unsecured creditors of each of the

 Debtors.

G.     Committee Meetings

                35.     During the Third Interim Compensation Period, the Committee held

 weekly telephonic meetings and monthly in-person meetings in advance of in-person meetings

 with the Debtors. Prior to each Committee meeting, and in accordance with the Bylaws Of

 Official Committee Of Unsecured Creditors Of Lehman Brothers Holdings Inc., et al., Milbank

 prepared an agenda listing topics for discussion. Milbank also prepared and distributed related

 materials on behalf of the Committee’s professionals for the Committee members’ review.

 During the Committee meetings, Milbank discussed with Committee members and their counsel

 all significant matters arising during the Third Interim Compensation Period, and assisted the

 Committee in formulating positions with respect to such issues. The exigencies of certain




                                                 16
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                          Pg 31 of 75



 circumstances necessitated the scheduling of certain unscheduled teleconferences with the

 Committee during the Third Interim Compensation Period.

                36.     Through Committee meetings and conference calls, and numerous other

 communications with members of the Committee, Milbank has assisted the Committee in

 (i) fulfilling its obligations to unsecured creditors of each of the Debtors’ estates and (ii) making

 informed decisions regarding the numerous issues that have arisen in these cases.

H.     Communication with Creditors

                37.     In accordance with the Stipulation and Agreed Order Between the

 Debtors and the Official Committee of Unsecured Creditors Regarding Creditor Access to

 Information Pursuant to 11 U.S.C §§ 105(a), 1102(b)(3) and 1103(c) [Docket No. 498], which

 the Court approved on October 1, 2008 (the “Creditor Information Protocol”), Milbank, on

 behalf of the Committee, continued to populate and maintain an internet-accessed website (the

 “Committee Website”). The Committee Website contains a significant amount of content

 produced by Milbank, which is updated frequently and designed to provide information to

 creditors, including, among other things, (i) general information concerning the Debtors’

 Chapter 11 Cases, including adversary proceedings and the SIPA Proceeding; (ii) highlights of

 significant events; (iii) a case calendar; and (iv) answers to frequently asked questions, available

 in several foreign languages. The Committee Website also acts as one means of interaction

 between Milbank and the Debtors’ creditors. For example, the Committee Website permits

 creditors to register to receive monthly reports and to submit inquiries directly to Milbank, as to

 which Milbank has worked in collaboration with the Debtors’ counsel (as required by the

 Creditor Information Protocol) to provide responses.




                                                 17
08-13555-mg      Doc 6203          Filed 12/14/09 Entered 12/14/09 21:39:00       Main Document
                                              Pg 32 of 75



                 38.     During the Third Interim Compensation Period, Milbank continued to

 expend substantial time developing and maintaining the Committee Website. In addition,

 hundreds of creditors contacted Milbank via the Committee Website and telephonically with

 questions concerning the Chapter 11 Cases, and more specifically the filing of Proofs of Claim

 due to the establishment and passage of the Bar Date during the Third Interim Compensation

 Period. In accordance with the Creditor Information Protocol, Milbank reviewed and responded

 to all such creditor inquiries.

                 39.     During the Third Interim Compensation Period, Milbank spent

 considerable time working with the so-called Ad Hoc Group of Lehman Brothers Creditors (the

 “Ad Hoc Group”),9 which was formed during the Second Interim Compensation Period, to

 assist in the Ad Hoc Group’s understanding of the issues in the Chapter 11 Cases. Milbank also

 continued, at the Court’s direction, to act as an information “liaison” between the Debtors, the

 Ad Hoc Group, and other creditors and, most specifically, expended time discussing the Chapter

 11 Cases and a number of pending motions with counsel to the Ad Hoc Group on a nearly daily

 basis.

I.        Court Hearings

                 40.     During the Third Interim Compensation Period, Milbank prepared for and

 appeared at each of the hearings conducted before this Court, including, among others,

 (i) numerous regularly scheduled omnibus hearings; (ii) special hearings and case conferences;

 (iii) hearings in the SIPA Proceeding; and (iv) hearings in more than sixty adversary

 proceedings arising out of the Chapter 11 Cases and the SIPA Proceeding. To prepare for each

 hearing, among other things, Milbank reviewed and analyzed documents, including




                                                 18
08-13555-mg         Doc 6203       Filed 12/14/09 Entered 12/14/09 21:39:00                Main Document
                                              Pg 33 of 75



    correspondence and pleadings, conducted both factual and legal research, and met with

    numerous parties to work toward the consensual resolution of any objections raised by the

    Committee or other parties in interest. Following each hearing, Milbank produced summaries

    and analyses of the proceedings in order to keep the Committee fully apprised of developments

    in the Chapter 11 Cases.

J.        Debtor-in-Possession Meetings and Communications

                   41.     During the Third Interim Compensation Period, Milbank continued its

    frequent communication and exchange of correspondence with Debtors’ counsel regarding,

    among numerous other issues, case administration, responses to pleadings, the Bar Date Motion,

    substantive consolidation, plan and disclosure issues, and upcoming hearings. Milbank also

    prepared for and attended various in-person meetings with the Committee members, the

    Debtors, and their respective professionals to, among other things, discuss the ongoing

    administration of and long term strategy for these Chapter 11 Cases.

K.        Derivatives Issues

                   42.     As reflected in the Second Interim Fee Application, the Committee

    established a derivatives subcommittee (the “Derivatives Subcommittee”) comprised of

    Committee members, Milbank attorneys, and the Committee’s other professionals. During the

    Third Interim Compensation Period, Milbank continued to conduct regular (at least weekly)

    meetings with the Derivatives Subcommittee to address and, where appropriate, make

    recommendations to the full Committee in respect of specific issues concerning the Debtors’

    portfolio of derivatives positions. Pursuant to the orders of the Court entered in December 2008

    and January 2009 to Establish Procedures for the Settlement or Assumption and Assignment of

9
          The Ad Hoc Group filed a Notice of Appearance and Request for Service of Documents on May 12, 2009




                                                      19
08-13555-mg      Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                         Pg 34 of 75



 Prepetition Derivative Contracts, absent further Court approval, the Committee must analyze

 and consent to all derivative transactions before the Debtors can consummate any such

 transaction. To that end, Milbank, together with the Committee’s financial advisors, reviewed

 and advised the Committee on all aspects of each proposed transaction and presented to the

 Derivatives Subcommittee for consultation.

                43.     Specifically, in respect of the Debtors’ Motion Pursuant to Section 105(a)

 of the Bankruptcy Code and General Order M-143 for Authorization to Implement Alternative

 Dispute Resolution Procedures for Affirmative Claims of Debtors Under Derivative Contracts

 (the “Derivatives ADR Motion”), Milbank worked closely with the Debtors to improve upon

 the procedures proposed in the Derivatives ADR Motion. At the request of the Committee,

 Milbank prepared and filed a statement in support of the Derivatives ADR Motion, [Docket No.

 4911], and a statement in further support of the Derivatives ADR Motion, [Docket No. 5140].

 On September 17, 2009, this Court entered an order approving the Derivatives ADR Motion.

                44.     Additionally, Milbank continued to address issues related to, and

 provided recommendations on, derivatives matters, including the highly complex derivatives-

 related adversary proceedings commenced by the Debtors to recover the Debtors’ “in-the-

 money” positions in various derivatives transactions. To that end, Milbank continued to devote

 substantial attorney time to analyzing derivatives contracts and other related transaction

 documents, monitoring and participating actively in the derivatives-related adversary

 proceedings, communicating with the Debtors’ counsel and the Committee’s financial advisors,

 and developing and evaluating strategies to monetize complicated derivatives transactions for




       at Docket No. 3552.




                                                20
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                          Pg 35 of 75



 the benefit of unsecured creditors of each of the Debtors’ estates and to summarizing such

 analyses and recommendations in numerous memoranda to the Committee.

                45.     As noted, considerable attention was paid to certain adversary

 proceedings, each of which raises novel issues of law. In preparation for representation of the

 Committee in certain of the derivatives-related adversary proceedings in which the Committee

 has intervened, Milbank researched complex legal issues related to, among other things, the

 treatment of derivative contracts in bankruptcy. Specifically, substantial time was devoted to

 researching legal issues of first impression in the Second Circuit, including, without limitation,

 issues relating to the enforceability of section 2(a)(iii) of the 1992 ISDA Master Agreement

 Form under the Bankruptcy Code, and more generally, the scope of section 560 of the

 Bankruptcy Code. Such research and analysis has been essential to the development of

 strategies to recover amounts due to the Debtors in disputed derivatives transactions for the

 benefit of unsecured creditors of each of the Debtors’ estates. A high volume of such

 transactions are governed by English law. Accordingly, derivatives professionals from

 Lehman’s London office have taken an active role in analyzing transactions and assisting with

 prosecuting such actions domestically and abroad.

                46.     Metavante. Specifically, such research was instrumental to the favorable

 ruling obtained by the Debtors and the Committee with respect to the Debtors’ motion to

 compel the performance of Metavante Corporation (“Metavante”) under a swap agreement (the

 “Metavante Motion”). The Debtors sought to compel Metavante’s performance under a

 prepetition swap agreement pursuant to which Metavante owed approximately $6.6 million plus

 accrued interest. Metavante contended that section 2(a)(iii) of the swap agreement excused its

 performance thereunder and additionally that sections 560 and 561 of the Bankruptcy Code




                                                 21
08-13555-mg      Doc 6203       Filed 12/14/09 Entered 12/14/09 21:39:00          Main Document
                                           Pg 36 of 75



 permitted Metavante to terminate the swap agreement whenever it chose. Milbank, at the

 direction of the Committee, filed a substantive statement in support of the Metavante Motion

 [Docket No. 3958] and a joinder to the Debtors’ reply in support of the Metavante Motion

 [Docket No. 4373] that, among other things, argued that section 2(a)(iii) was an unenforceable

 ipso facto provision and that a counterparty’s right to terminate a swap agreement is not

 unfettered. In a ruling from the bench during the September 15, 2009 omnibus hearing, this

 Court granted the Metavante Motion thereby not only compelling Metavante’s performance, but

 also setting the precedent that counterparties cannot suspend performance under prepetition

 derivative contracts. This has been a key victory for the derivatives team. Milbank is pleased

 to have taken such an active role in this litigation.

L.     Employee Issues

                47.     During the Third Interim Compensation Period, Milbank devoted time to

 researching and analyzing issues with respect to (i) potential insider preference avoidance

 actions that could be brought in the Chapter 11 Cases and (ii) the planned termination by the

 Debtors of their post-retirement health care programs. With respect to potential insider

 preference avoidance actions, Milbank reviewed LBHI public filings and other schedules

 prepared by Alvarez & Marsal to determine whether any payments made to LBHI employees

 prior to the commencement of the Chapter 11 Cases could be deemed to be preferential

 payments to insiders. Milbank also had discussions with FTI to identify which payments might

 be candidates for preference avoidance actions and to coordinate Milbank’s efforts to obtain the

 necessary information from the Debtors to complete its preference analysis. This project was

 underway as of the conclusion of this fee period.




                                                  22
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 37 of 75



                48.    With respect to the Debtors’ proposed termination of their post-

 retirement health care programs, Milbank (i) corresponded with Debtors’ counsel to obtain all

 the documentation with respect to these programs; (ii) reviewed such documentation to

 determine if they allow the Debtors to unilaterally modify or terminate these programs;

 (iii) researched and analyzed section 1114 of the Bankruptcy Code and cases interpreting such

 section to determine if the Debtors would be required to comply with the standards and

 procedures enumerated in such section before terminating their post-retirement health care

 programs; (iv) analyzed and discussed with Debtors’ counsel legal issues with respect to the

 “VEBA” trust established and funded prior to the commencement of the Chapter 11 Cases to

 fund health and welfare benefits for certain active and retired employees of the Debtors; and (v)

 reviewed and provided comments to Debtors’ counsel on the letter to be sent out by LBHI to

 persons who are or may become eligible to participate in the Debtors’ post-retirement health

 care programs regarding the termination of such programs. Milbank also participated in

 Committee calls to update the Committee on the above-mentioned outstanding issues.

M.     Examiner Issues

                49.    During the Third Interim Compensation Period, Milbank continued to

 communicate and coordinate with the Examiner in connection with its investigation mandate,

 which was authorized in connection with its appointment by order dated January 16, 2009, and

 its preliminary work plan, which was approved by order dated February 17, 2009. For example,

 Milbank drafted correspondence to and conferred with the Examiner regarding its sharing of

 documents and other information obtained during the course of its investigation. Additionally,

 in an effort to ensure that the Examiner was operating within its mandate and to minimize

 duplication of the investigative efforts of the Committee and the Debtors, Milbank prepared and




                                                23
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                          Pg 38 of 75



 argued the Motion of Official Committee of Unsecured Creditors to Direct the Examiner to

 Comply With Court’s Order Directing Appointment of an Examiner [Docket No. 4262].

 Finally, Milbank also reviewed, summarized, and presented to the Committee (i) a number of

 stipulations between the Examiner and parties in interest in the Chapter 11 Cases concerning

 information sharing and confidentiality, and (ii) various pleadings and correspondence

 concerning the Examiner’s investigation, including the Examiner’s subpoena pursuant to

 Federal Rules of Bankruptcy Procedure Rule 2004 to obtain discovery from Ernst & Young

 LLP.

N.      Exclusivity Issues

                50.     In response to the Debtors’ motion seeking a further extension of the

 exclusive periods for the filing of and solicitation of acceptances for chapter 11 plans (the

 “Exclusivity Motion”), Milbank researched, analyzed and advised the Committee with respect

 to the issues that arose in connection with the requested relief. At the direction of the

 Committee, Milbank engaged in discussions with the Debtors that led to the compromise,

 memorialized in the Statement of the Official Committee of Unsecured Creditors in Response to

 Debtors’ Motion Requesting Second Extension of Exclusive Periods for the Filing of and

 Solicitation of Acceptances for Chapter 11 Plans [Docket No. 4378], whereby the Committee

 agreed to not object to the Exclusivity Motion, on the condition that the Debtors’ management

 provide a comprehensive update on the estates and the progress of the Chapter 11 Cases at the

 omnibus hearing held in November 2009. Such compromise served to advance the cause of

 transparency in the Chapter 11 Cases and reduce unnecessary motion practice.




                                                 24
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 39 of 75



O.     Executory Contracts

                51.    During the Third Interim Compensation Period, Milbank reviewed and

 analyzed pleadings filed with respect to the Debtors’ and LBI’s executory contracts, including

 numerous motions by the Debtors and the SIPA Trustee to assume or reject particular executory

 contracts, as well as motions by certain of the Debtors’ counterparties seeking to compel the

 respective Debtor to assume or reject a particular executory contract. Such review and analysis

 included legal research regarding the relief sought by such pleadings, analysis of the Debtors’

 and SIPA Trustee’s rights and obligations under the applicable executory contracts, consultation

 with the Committee’s financial advisors regarding the financial implications of the proposed

 treatment of the subject contracts, correspondence with the Debtors’ legal and financial advisors

 regarding the financial context and implications of the proposed courses of action, and

 assessment of the potential impact on the Debtors’ estates. Based upon such review and

 analysis, Milbank prepared memoranda for the Committee summarizing such pleadings,

 applicable legal issues, corresponding financial consideration, and the potential impact on the

 Debtors’ estates and unsecured creditor recoveries.

P.     Fee Applications and Fee Committee Matters

                52.    During the Third Interim Compensation Period, Milbank reviewed the

 monthly fee statements received from other professionals pursuant to the Interim Compensation

 Order. Additionally, Milbank assisted in the filing and service of the second interim fee

 applications of other Committee professionals.

                53.    Fee Committee. In connection with the appointment of the Fee

 Committee, during the Third Interim Compensation Period, Milbank reviewed and analyzed the

 matters related to the Fee Protocol, and regularly corresponded with the members of the Fee




                                                25
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 40 of 75



 Committee and the other professionals retained in the Chapter 11 Cases regarding such matters.

 Such regular correspondence led to the formation of a fee subcommittee (the “Fee

 Subcommittee”), which is comprised of Committee members, to provide an appropriate forum

 for the discussion and resolution of such matters. In addition to attending regular meetings of

 the Fee Subcommittee, Milbank worked cooperatively with the Fee Committee to settle certain

 outstanding issues identified in the First Fee Committee Report and to establish a monthly

 protocol for the submission of budgets by the professionals retained in the Chapter 11 Cases.

Q.     File, Docket & Calendar Maintenance

                54.    During the Third Interim Compensation Period, Milbank maintained

 internal filing, record-keeping, docket-monitoring, and calendaring systems to organize and

 track (i) pleadings filed in the Chapter 11 Cases, SIPA Proceeding, and related adversary

 proceedings, (ii) ongoing projects, and (iii) upcoming deadlines. On a real-time basis, Milbank

 downloaded, consolidated, and organized pleadings in order to ensure efficient access. Milbank

 also monitored the dockets on a real-time basis and summarized and circulated substantive

 pleadings to the Milbank Lehman team. These summaries enabled Milbank to stay abreast of

 ongoing developments in these cases, facilitated the assignment of projects, and helped ensure

 that deadlines were not missed.

                55.    Additionally, Milbank maintained a comprehensive internal calendar of

 active matters in these cases. This calendar ensured that Milbank could effectively monitor and

 update the status of all pending matters, a resource that proved invaluable in responding to

 inquiries and discussing these matters with the Committee and other parties in interest. Milbank

 also maintained and circulated to the Committee, on a weekly basis, a calendar of upcoming

 motions, hearing dates, and other important deadlines.




                                                26
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                          Pg 41 of 75



R.     Intercompany Issues

                56.     During the Third Interim Compensation Period, Milbank expended

 considerable time investigating, on a preliminary basis, matters related to intercompany

 obligations. Most significantly, at the request of the Committee, Milbank devoted substantial

 resources to an analysis of purported guarantees and their potential impact on creditor

 recoveries. In this connection, Milbank drafted a memorandum addressing, among other issues,

 the assertion of a claim by Lehman Brothers International (Europe)’s (“LBIE”) administrator,

 PricewaterhouseCoopers LLP (“PwC”), against LBHI, as a purported guarantor for certain of its

 affiliates, for liabilities owed to LBIE by those affiliates. In drafting the memorandum, Milbank

 conducted research on U.S. law regarding the enforcement of general guarantees and reviewed

 documents relevant to the existence of a purported LBHI guarantee, as well as the subrogation

 rights of guarantors. Milbank additionally conducted research regarding, and drafted a

 memorandum addressing, certain other potential claims based, in part, on LBHI’s purported

 guarantee of certain affiliates’ obligations. Milbank also continued to analyze additional

 correspondence and agreements that may bear on any purported LBHI guarantee.

S.     International Insolvency Matters

                57.     During the Third Interim Compensation Period, Milbank attorneys and

 paraprofessionals across various jurisdictions communicated with each other, Debtors’ counsel,

 and third party administrators regarding the status of proceedings (the “Foreign Proceedings”)

 initiated by or against Lehman-related entities in countries outside of the U.S., or jurisdictions

 where Lehman entities may have assets and/or liabilities, including, without limitation, (i) the

 United Kingdom (“UK”); (ii) Hong Kong; (iii) Japan; (iv) France; (v) the Netherlands;

 (vi) Switzerland; (vii) Germany; (viii) Australia; (ix) Singapore; (x) Korea; (xi) the Philippines;




                                                 27
08-13555-mg       Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00              Main Document
                                          Pg 42 of 75



 (xii) China; (xiii) Cayman Islands; (xiv) Luxembourg; (xv) Taiwan; and (xvi) Bermuda.

 Milbank regularly liaised with the Committee and provided updates regarding Foreign

 Proceedings. Milbank also monitored publicly available information for updates and

 information regarding the Foreign Proceedings, and compiled information regarding procedures

 for filing proofs of claim in the Foreign Proceedings. The following summarizes specific

 international matters on which Milbank was focused during the Third Interim Compensation

 Period.

                  58.   Netherlands Issues. Milbank reviewed the Debtors’ potential liabilities

 in respect of BV, a foreign affiliate currently under administration in the Netherlands. Pursuant

 to certain agreements, LBHI purportedly assumed guarantee obligations in respect of the

 payment of principal and interest under certain notes issued by BV (the “Notes”). Milbank

 researched and prepared memoranda regarding (i) potential special treatment of the Notes under

 foreign law, (ii) the procedures for filing proofs of claim in respect of the Notes, and (iii) the

 enforceability of LBHI’s guarantee and indemnity obligations in connection with the Notes.

 Milbank also monitored, and continues to monitor, the development of the Netherlands

 proceeding, and summarized for the Committee quarterly status reports issued by the trustee for

 the BV estate.

                  59.   Japan Issues. As discussed herein, during the Third Interim

 Compensation Period, Milbank became aware of a certain dispute involving Sunrise Finance

 Co., Ltd. (“Sunrise”), a foreign affiliate under administration in Japan. Specifically, Milbank

 learned that Shinsei proposed a competing plan of liquidation in the Sunrise insolvency

 proceeding, which would subordinate the recoveries of LBHI and its Hong Kong affiliate,

 Lehman Brothers Asia Holdings, Inc. Milbank spent considerable time reviewing the court




                                                  28
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                          Pg 43 of 75



 filings in the Sunrise proceeding, and researching the legal issues raised in respect of Shinsei’s

 subordination challenge and the potential violation of the automatic stay under section 362 of

 the Bankruptcy Code. Milbank prepared memoranda for the Committee addressing the Sunrise

 matter and the results of the research regarding the foregoing issues.

                60.     Bermuda Issues. On August 6, 2009, LBHI’s affiliate Lehman Re Ltd.

 (“Lehman Re”), under liquidation in Bermuda, filed a petition in this Court seeking

 (i) recognition of the Bermuda proceeding under chapter 15 of the Bankruptcy Code and

 (ii) among other related relief, pursuant to sections 1520 and 1521 of the Bankruptcy Code,

 (a) issuance of a permanent injunction staying all actions against Lehman Re or in respect of its

 property, and (b) authority for the Bermuda court-appointed liquidators to investigate, protect,

 control, and administer Lehman Re’s U.S. assets. See In re Lehman Re Ltd., Case No. 09-

 14884 (JMP) (Bankr. S.D.N.Y. 2009). Milbank, among other things, (i) attended and monitored

 the hearings regarding Lehman Re’s chapter 15 petition and related requests;

 (ii) researched the legal standards regarding chapter 15 petitions; and (iii) summarized the

 foregoing matters for the Committee. The Court granted Lehman Re the foregoing requested

 relief on September 24, 2009.

                61.     Milbank also analyzed and summarized the Debtors’ motion in the

 Chapter 11 Cases, dated August 5, 2009, seeking approval of a settlement among LBHI, LCPI,

 Lehman ALI Inc. (together with LBHI and LCPI, the “U.S. Parties”), and Lehman Re, under

 which, among other things, the U.S. Parties agreed to execute and deliver to Lehman Re certain

 assignment documents with respect to certain mortgage loans and confirm that Lehman Re is

 the sole owner thereof, and, in exchange, Lehman Re would assume the U.S. Parties’ future




                                                 29
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 44 of 75



 funding obligations under the mortgage loans and advance the sum of $1 million. The Court

 granted the foregoing motion on August 27, 2009.

                62.    German Bank Issues. Lehman Brothers Bankhaus AG (“Bankhaus”) is

 a wholly-owned subsidiary of LBHI. The Frankfurt Local Court (Amtsgericht) commenced

 formal insolvency proceedings against Bankhaus on November 13, 2008, and on April 29,

 2009, Bankhaus filed with the Court a petition under chapter 15 of the Bankruptcy Code.

 During the Third Interim Compensation Period, Milbank analyzed numerous issues relating to

 Bankhaus, and in particular, Bankhaus’s claims against the Debtors and the proposed resolution

 of such claims. In connection therewith, Milbank worked with the Debtors and Houlihan

 negotiate the terms of the agreement addressing such claims.

                63.    UK Issues. LBIE, along with several other British subsidiaries and

 affiliates of the Debtors, were placed into insolvency administration (the “Administration”) in

 the UK, and the UK High Court appointed Tony Lomas, Steven Pearson, Dan Schwarzmann

 and Mike Jervis, partners at PwC, as joint administrators (collectively, the “UK Joint

 Administrators”) on September 15, 2008. During the Third Interim Compensation Period,

 Milbank monitored the Administration of LBIE and provided UK law advice in relation to

 various swaps and derivatives transactions to which Lehman entities were a party. This

 involved numerous internal telephone conversations, email communication and research

 memoranda, as well as email communication and conversations with the Committee’s financial

 advisors.

                64.    In particular, Milbank performed extensive legal research into the

 provisions and practical mechanics of the administration process under UK law. Milbank

 regularly communicated with UK-based members of FTI and, in addition, Milbank had regular




                                                30
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                          Pg 45 of 75



 conversations with members of the London office of Debtors’ counsel regarding the status of

 the Administration. In addition, Milbank monitored and provided updates and analyses to the

 Committee on various issues in connection with the LBIE proceeding including the LBIE trust

 asset Scheme of Arrangement, the alternative trust asset contractual solution, the post-

 administration Client Money directions hearing and the pre-administration Client Money

 directions hearing. In relation to Lehman Brothers RE Financing No. 3 Limited (a subsidiary of

 LBIE also in administration), Milbank provided advice on the proposed Excalibur transaction.

 On derivatives related matters, Milbank advised on, inter alia, the Perpetual/Belmont litigation,

 the Aflac transaction, Norton Gold Fields, the action brought by LBSF against Rentenbank, and

 the LBIE/LBSF case.

                65.     Multilateral Protocol. Milbank spent considerable time working with

 the Debtors and the administrators in the Foreign Proceedings (the “Foreign Administrators”) to

 develop protocols that culminated with the adoption of the Cross-Border Insolvency Protocol

 for the Lehman Brothers Group of Companies (the “Protocol”). The Protocol was designed to

 facilitate the coordination of the U.S. and Foreign Proceedings, and to enable the respective

 courts and administrators to cooperate in the administration of all proceedings in the interest of

 the Debtors’ creditors, and all of Lehman’s creditors worldwide. By motion, dated May 26,

 2009 (the “Protocol Motion”), the Debtors submitted the proposed Protocol for approval by this

 Court. Milbank reviewed all pleadings filed with respect to the Protocol and, at the request of

 the Committee, Milbank prepared and filed a statement in support of the Protocol Motion

 [Docket No. 3896]. The Protocol Motion was approved by the Court on June 17, 2009.

 Subsequent to its approval, Milbank monitored related filings concerning notifications of




                                                 31
08-13555-mg       Doc 6203       Filed 12/14/09 Entered 12/14/09 21:39:00                Main Document
                                            Pg 46 of 75



 Foreign Administrators that subsequently signed the Protocol, and monitored and reported to

 the Committee on the progress made by the Foreign Administrators under the Protocol.

T.      Litigation

                 66.     During the Third Interim Compensation Period, Milbank conducted

 research and prepared memoranda regarding the claims and issues raised by a wide range of

 pending lawsuits and potential settlements impacting the Debtors’ estates. Milbank also

 conducted multiple teleconferences and meetings, both internally and with the Debtors and their

 professionals, with regard to the foregoing and provided regular updates to the Committee.

                 67.     More specifically, with the exception of cases in which the Committee’s

 interests are represented by the Committee’s conflicts counsel, Milbank monitored

 developments in (i) all pending adversary proceedings commenced in this Court; (ii) lawsuits

 commenced prepetition against the Debtors and pre- and postpetition against non-Debtor

 affiliates, officers, directors, and related parties; (iii) litigation raising issues similar to those

 raised or to be raised in the Chapter 11 Cases; and (iv) contested matters in the Chapter 11

 Cases. When appropriate and directed by the Committee, Milbank intervened in such matters

 on the Committee’s behalf. Finally, in connection with the monitored proceedings, Milbank

 reviewed and analyzed proposed settlement agreements and advised the Committee regarding

 the same.

                 68.     In addition, Milbank has responded to document requests received from

 Barclays in connection with the Motion of Official Committee Of Unsecured Creditors of

 Lehman Brothers Holdings Inc., et al., Pursuant to 11 U.S.C. Section 105(A), Fed. R. Civ. P.

 60(B), and Fed. R. Bankr. P. 9024, for Relief From Order Under 11 U.S.C. Sections 105(A),

 363, and 365 and Federal Rules of Bankruptcy Procedure 2002, 6004 and 6006 Authorizing and




                                                    32
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 47 of 75



 Approving (A) Sale of Purchased Assets Free and Clear of Liens and Other Interests and (B)

 Assumption and Assignment of Executory Contracts and Unexpired Leases, Dated September

 20, 2008 (and Related SIPA Sale Order) and Joinder In Debtors’ And SIPA Trustees Motions

 For An Order Under Rule 60(B) To Modify Sale Order.

U.     Milbank Fee Statements and Applications

                69.     During the Third Interim Compensation Period, Milbank reviewed

 Milbank’s monthly fee statements for, among other purposes, compliance with the Interim

 Compensation Order, the Local Guidelines and the guidelines contained in the First Fee

 Committee Report. Milbank also prepared and served its Fee Statements and its Second Interim

 Fee Application on all parties required by the Interim Compensation Order and upon the newly

 formed Fee Committee.

V.     Private Equity

                70.     As reflected in the First and Second Interim Fee Applications, the

 Committee established a private equity subcommittee (the “Private Equity Subcommittee”)

 comprised of Milbank attorneys, Committee members, and the Committee’s financial advisors.

 The Private Equity Subcommittee held regular meetings during the Third Interim Compensation

 Period to address and make recommendations to the full Committee with regard to specific

 issues surrounding the Debtors’ portfolio of private equity assets and formulated protocols with

 the Debtors to attempt to maximize the value of such portfolios. Milbank worked closely with

 the Debtors, the Debtors’ professionals, and the Committee’s financial advisors in connection

 with the sale of several lines of business that were part of Lehman’s private equity businesses.

                71.     As discussed in the Second Interim Fee Application, with respect to the

 proposed sale of debt and equity interests in SkyPower, Corp. (“SkyPower”) to C6 Canada




                                                33
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00           Main Document
                                         Pg 48 of 75



 Energy Holdings Inc. and its subsidiary C6 Canada Energy, Inc., Milbank continued to work

 together with the Committee’s financial advisors and the Debtors’ counsel to review, analyze,

 and comment on numerous draft purchase agreements. On August 12, 2009, SkyPower filed for

 Companies’ Creditors Arrangement Act (“CCAA”) protection with the Canadian Bankruptcy

 Court. In connection with such filing, Milbank also conducted significant research and due

 diligence to verify any potential claims held by LBHI in the CCAA proceeding and the terms of

 the sale order under which SkyPower’s assets were proposed to be sold, and communicated the

 status of the CCAA filing to the Private Equity Subcommittee and the Committee.

                72.    As also discussed in the Second Interim Fee Application, Milbank

 continued to expend time in evaluating the twenty percent interest held by ARS Holdings II

 LLC (“ARS Holdings”), a non-Debtor, wholly-owned, direct subsidiary of LBHI, in D.E. Shaw

 & Co., L.P. and D.E. Shaw & Co., L.L.C. (“D.E. Shaw”). Milbank continued to work, together

 with the Committee’s other professionals, analyzing the potential value to the Debtors’ estates

 of making an intercompany loan to ARS Holdings and related capital payment to D.E. Shaw

 and communicating with the Committee regarding the Committee’s position with respect to this

 motion.

                73.    With respect to the sale of membership interests in a renewable energy

 project, OPC LLC (“Ormat”), Milbank worked closely Debtors’ counsel in reviewing and

 commenting on several drafts of a purchase agreement with an entity unaffiliated with Ormat or

 LBHI, GSFS Investments I Corp., and the related disclosure schedules and ancillary

 agreements. During this process Milbank was informed by Debtors’ counsel that another

 member of Ormat, Ormat Nevada, Inc. (“Ormat Nevada”), chose to exercise its right of first

 offer to purchase LBHI’s interests in Ormat, pursuant to the operating agreement of Ormat. As




                                               34
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                          Pg 49 of 75



 a result, Milbank also conducted diligence analyzing the terms of the right of first offer

 provision in Ormat’s operating agreement and commented on drafts of each purchase agreement

 with Ormat Nevada, as well as communicated the terms of the purchase agreement to the

 Private Equity Subcommittee.

                74.     With respect to the sale of general partnership interests and limited

 partnership interests in Lehman’s real estate private equity funds to certain subsidiaries of

 PCCP, LLC, Milbank worked closely with Debtors’ counsel in reviewing and commenting on

 several drafts of each purchase agreement and the related ancillary agreements.

                75.     With respect to the sale of debt and equity investments in Delta Topco

 Limited and Delta Prefco Limited to LB I Group Inc., a wholly-owned indirect subsidiary of

 LBHI, Milbank attorneys performed confirmatory due diligence in order to verify structuring

 issues. Milbank attorneys also reviewed and commented on the terms of the purchase

 agreement and communicated the terms of the transaction to the Private Equity Subcommittee.

                76.     Other Private Equity Sales. In connection with certain other asset

 sales, Milbank had worked and continued to work closely with the Debtors, the Debtors’

 professionals, and the Committee’s financial advisors, to negotiate the terms and conditions of

 purchase agreements and related transaction documents with potential purchasers of such assets.

W.     Real Estate Matters

                77.     As reflected in the First and Second Interim Fee Applications, due to the

 size, complexity and potential for exposure of the Debtors’ real estate portfolio, the Committee

 established a real estate subcommittee (the “Real Estate Subcommittee”) comprised of

 Committee members, Milbank attorneys, and the Committee’s financial advisors, to evaluate

 the Debtor’s extensive real estate portfolio. The Real Estate Subcommittee held regular




                                                 35
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                          Pg 50 of 75



 meetings during the Third Interim Compensation Period to address and make recommendations

 to the full Committee with regard to issues related to the Debtors’ real estate holdings in order

 to both assess discrete issues, e.g., the Broadway Partners, Canyon Ranch, SunCal, Starman and

 Heritage Fields situations, and formulate protocols with the Debtors to attempt to maximize the

 value of the Debtors’ real estate assets.

                78.     The Debtors’ real estate portfolio includes commercial, residential and

 corporate interests in which the Debtors hold both debt and equity positions, often in the form

 of joint ventures to develop large commercial projects. Milbank continued to work closely with

 the Committee’s financial advisors to assess whether the Debtors should continue to meet

 various funding obligations and to respond to numerous requests from Debtors to restructure

 debt facilities. In connection therewith, Milbank continued to review the Debtors’ rights,

 obligations and exposures relative to joint venture partners, borrowers, senior secured lenders,

 unsecured creditors and other third parties in order to further analyze the potential consequences

 of the proposed restructurings or failures to fund capital calls. Milbank also continued to

 participate in the consensual resolution of several outstanding real estate-related motions.

                79.     During the Third Interim Compensation Period, Milbank, together with

 the Committee’s financial advisors, worked with the Debtors to establish a protocol in

 connection with the management of the Debtors’ real estate portfolio that will reduce expenses

 incurred by the Debtors’ estates while also providing oversight mechanisms when the assets

 involved are over a certain threshold amount. Those efforts led to the Debtors’ motion to

 establish procedures for the compromise and settlement of certain residential mortgage-related

 claims, and in connection therewith, Milbank filed a statement in support of such procedures

 that acknowledged this cooperative effort [Docket No. 5123]. A similar protocol was




                                                36
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                          Pg 51 of 75



 established pursuant to the Debtors’ motion to establish procedures for the transfer of certain

 interests in real estate loans to non-Debtor subsidiaries. Milbank also prepared and filed a

 statement in support of this second set of procedures and the Debtors’ motion [Docket No.

 5124]. The Court entered orders granting the respective motions.

X.     Lehman Bank Platform Issues

                80.     During the Third Interim Compensation Period, Milbank continued to

 expend considerable time in connection with (i) Aurora Bank FSB, a federally-chartered thrift

 headquartered in Delaware, formerly known as Lehman Brothers Bank, FSB (“Aurora Bank”),

 overseen by the Office of Thrift Supervision (the “OTS”), and (ii) Woodlands Commercial

 Bank, a Utah industrial bank, formerly known as Lehman Brothers Commercial Bank

 (“Woodlands Bank” and, together with Aurora Bank, the “Banks”), overseen by the Federal

 Deposit Insurance Company (the “FDIC,” together with the OTS, the “Regulators”). As

 previously discussed, the Debtors’ and Committee’s professionals have strived to improve the

 capital levels at each of the Banks to satisfy regulatory requirements, avoid potential seizures

 and liquidations by the Regulators, and facilitate the resumption of depository functions at the

 Banks to preserve and maximize value. As such, Milbank continued to work closely and

 cooperatively with the Debtors and their professionals in attempting to structure solutions to the

 various issues confronting the Banks, including communicating with the Regulators to discuss

 the Banks’ alternatives and to negotiate a mutually acceptable solution to the Banks’ regulatory

 issues.

                81.     In connection with the foregoing, Milbank analyzed supplemental

 motions filed by the Debtors seeking (i) to make an additional cash infusion of $50 million into

 Aurora Bank, dated June 23, 2009 (the “Supplemental Infusion Motion”), and (ii) to enter into




                                                37
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                          Pg 52 of 75



 (a) an amended master repurchase agreement with Aurora Bank and (b) a secured bridge

 financing facility with Aurora Bank’s wholly owned subsidiary, Aurora Loan Services, LLC,

 dated July 16, 2009 (the “Financing Motion”). At the request of the Committee, Milbank

 prepared and filed a statement in support of the Financing Motion [Docket No. 4595]. The

 Supplemental Infusion Motion and the Financing Motion were approved by the Court on June

 29, 2009, and August 5, 2009, respectively.

                82.     Milbank has taken, and continues to take, diligent measures to ensure that

 the Banks are being properly managed to maximize their value for the Debtors’ estates and

 creditors. To that end, Milbank has closely reviewed candidates for seats on the Banks’ boards

 of directors, and submitted letters and proposals to the Debtors’ counsel and regulators seeking

 observer status with respect to such boards. Milbank also continued to review liabilities of the

 Debtors in connection with the Banks, including potential claims of the OTS under section

 365(o) of the Bankruptcy Code against LBHI based on capital maintenance obligations owed by

 LBHI to Aurora Bank, and prepared supplemental memoranda analyzing a potential settlement

 resolving such claims. Additionally, as part of its consideration of restructuring alternatives for

 the Banks, Milbank researched and reviewed precedent bank receivership and liquidation/wind-

 down proceedings.

                83.     Milbank worked closely with the Committee’s financial advisors to

 analyze and present the legal and financial implications of transactions involving the Banks to a

 subcommittee comprised of Milbank attorneys, Committee members, and the Committee’s

 financial advisors established to review such matters (the “Bank Regulatory Subcommittee”).

 The Bank Regulatory Subcommittee held regular meetings during the Third Interim




                                                 38
08-13555-mg      Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 53 of 75



 Compensation Period to discuss responsive courses of action and formulate recommendations

 regarding Bank matters that were presented to the full Committee for further consideration.

Y.     Retention of Professionals

                84.     During the Third Interim Compensation Period, Milbank reviewed and

 scrutinized the retention applications of professionals, including applications for, among others:

 (i) Pachulski Stang Ziehl & Jones LLP, as special counsel to the Debtors; (ii)

 PricewaterhouseCoopers, as tax advisors to the Debtors; (iii) Citadel Solutions LLC, as data

 processing and workflow automation consultant to the Debtors; (iv) Bingham McCutchen LLP

 as special counsel to the Debtors; (v) Windels Marx Lane & Mittendorf, LLP, as special counsel

 to the Debtors; (vi) Hudson Global Resources Management, Inc., as provider of contract

 attorneys to the Debtors; (vii) Steinmetz, Haring, Gurman & Co., as special Israeli counsel to

 the SIPA Trustee; (viii) Menaker & Herrmann LLP, as special counsel to the SIPA Trustee; (ix)

 DiscoverReady LLP, as provider of contract attorneys to the Debtors; and (x) ordinary course

 counsel and contract attorneys. In evaluating these additional retention applications, Milbank

 discussed with the Committee, the Committee’s financial advisors, and the Debtors, concerns

 about conflicts of interest, compensation, and scope of employment. Milbank also drafted and

 filed, at the direction of the Committee, an application to employ Richard Sheldon as Queen’s

 Counsel [Docket No. 4454]. On August 11, 2009, the Court granted this application.

Z.     Rule 2004 Investigations

                85.     During the Third Interim Compensation Period, Milbank continued to

 monitor and analyze various motions for examination pursuant to Federal Rules of Bankruptcy

 Procedure (“Rule 2004 Motions”) filed by interested parties. In particular, Milbank reviewed

 and analyzed a Rule 2004 Motion filed by Landwirtschaftliche Rentenbank (“Rentenbank”)




                                                39
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00              Main Document
                                          Pg 54 of 75



 seeking discovery with respect to substantive consolidation. In response thereto, at the direction

 of the Committee, Milbank filed a joinder to the Debtors’ objection to Rentenbank’s Rule 2004

 Motion [Docket No. 5125]. On September 17, 2009, the Court entered an order denying

 Rentenbank’s Rule 2004 Motion. Milbank also researched and analyzed Rule 2004 Motions

 filed by the Debtors against various third parties.

AA.    SIPC Issues

                86.     During the Third Interim Compensation Period, in addition to reviewing

 and analyzing various motions filed in the SIPA Proceeding, Milbank reviewed and prepared a

 report to the Committee on the SIPA Interim Report filed on May 29, 2009. Milbank also met

 with the SIPA Trustee to discuss various issues arising in the SIPA Proceeding to, among other

 things, improve communication and increase transparency for the benefit of all unsecured

 creditors of the Debtors’ estates. Additionally, Milbank drafted memoranda, as appropriate, on

 matters such as customer property and the conversion of the SIPA Proceeding to chapter 11, to

 keep the Committee fully apprised of potential ramifications to the Debtors’ estates. In

 connection therewith, Milbank evaluated customer property and claims issues, as well as the

 enforceability of certain subordination agreements into which LBI had entered.

BB.    Substantive Consolidation

                87.     During the Third Interim Compensation Period, Milbank continued its

 work on a comprehensive analysis of substantive consolidation and a comprehensive review and

 analysis of the factors commonly utilized by courts when analyzing substantive consolidation.

 In preparing such analyses, Milbank conducted in-depth research on all federal cases discussing

 the doctrine of substantive consolidation. Milbank, together with the Committee’s financial

 advisors, also continued its analysis of the potential applicability of the principles articulated in




                                                  40
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                          Pg 55 of 75



 such cases to the facts and circumstances of the Chapter 11 Cases. Milbank, at the request of

 the Committee, conducted research and drafted a comprehensive memorandum on substantive

 consolidation and its implications on the Debtors’ estates.

CC.    Tax Issues

                88.     During the Third Interim Compensation Period, Milbank devoted

 substantial time to analyzing and evaluating federal, state, local, and international tax issues

 relating to the Debtors’ estates. To address the myriad tax issues arising in the Chapter 11

 Cases, a subcommittee comprised of Milbank attorneys and Committee members was

 established (the “Tax Subcommittee”). In addition to attending regular meetings of the Tax

 Subcommittee, Milbank participated in weekly telephone conferences with the Committee and

 with Debtors’ in house tax department and reviewed, researched, and analyzed (i) tax issues

 related to the disposition of certain assets; (ii) tax issues surrounding the Banks, including the

 tax consequences of Real Estate Mortgage Investment Conduits held by LBI; (iii) the Debtors’

 tax exposure and potential refund claims; (iv) transactions subject to on-going Internal Revenue

 Service (“IRS”) audit of the Debtors’ estate, including foreign tax credit claims (e.g., “Voucher”

 trade and “stock loan” transactions) and the Debtors’ corporate-owned life insurance

 deductions, (v) motions and orders to restrict trading of equity and debt claims of the Debtors;

 (vi) the retention of tax litigation consultants; (vii) the impact of receipt of government program

 funds on use of the Debtors’ net operating losses; and (viii) the potential impact on the Debtors’

 estate of tax provisions in proposed legislation. In connection with the above-mentioned IRS

 audit, Milbank met regularly with the Debtors’ in house tax department and Debtor’s tax

 litigation counsel, McKee Nelson LLP, now known as Bingham McCutchen LLP, prepared

 memoranda for the Committee explaining the transactions at issue, the tax exposure associated




                                                 41
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00              Main Document
                                          Pg 56 of 75



 with the IRS audit, and participated in Debtors’ and Debtors’ tax litigation counsel’s

 development of negotiating strategy for the special IRS settlement process for the significant

 issues that have arisen on audit. This settlement process is currently underway with the IRS and

 representatives of the U.S. Department of Justice at government offices in New York City.

                89.     At the request of the Committee, Milbank researched, prepared legal

 memoranda, and corresponded with the Debtors regarding (i) the potential tax exposure related

 to New York State’s and New York City’s proof of claim filed against the Debtors; (ii) the

 priority of various tax claims against the Debtors; (iii) tax allocation rules related to Debtors’

 right to contribution by subsidiaries; (iv) setting off tax penalties with refunds and the allowance

 of certain refund claims; (v) the status of a controlled foreign corporation when placed in

 receivership; and (vi) the Debtors’ right to interest on tax refunds.

DD.    Trading and Loan Book

                90.     As reflected in the First and Second Interim Fee Applications, the

 Committee established a subcommittee comprised of Milbank attorneys, Committee members,

 and the Committee’s financial advisors to review matters related to the Debtors’ loan book (the

 “Loan Book Subcommittee”). During the Third Interim Compensation Period, the Loan Book

 Subcommittee continued to analyze, among numerous other matters related to the Debtors’ loan

 book, the unresolved objections and proposed settlements, ancillary motions, and other residual

 issues concerning the Debtors’ motions, dated November 14, 2008 and December 15, 2008, to

 assume or reject trade confirmations to purchase or sell interests in loans (the “Open Trades”).

                91.     In connection therewith, Milbank monitored, analyzed, and summarized

 for the Committee, various disputes and developing litigation in respect of certain Open Trades

 involving the counterparties AXA Alternative Financing FCP (“AXA”) and Field Point IV




                                                  42
08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 57 of 75



 S.à.r.l. (“Field Point”). Milbank reviewed the results of depositions, discovery and document

 production from Field Point and the Debtors, and certain related applications from the parties

 seeking assistance from the Court in arranging for the depositions of persons located in the

 United Kingdom. Milbank also researched, reviewed opinions of the Debtors’ counsel, and

 prepared memoranda analyzing various legal issues regarding certain AXA Open Trades,

 including enforceability issues under English law. Further, Milbank continued to analyze the

 legal issues raised in the Open Trades-related disputes involving Yarpa Investmenti S.G.R.

 S.p.A. – RP3 Fund and Basso Capital Management, L.P., which counterparties sought, among

 other things, relief from being bound to consummate certain Open Trades. Milbank also

 reviewed and summarized the proposed settlements of Open Trades disputes involving, among

 other counterparties, WestLB AG, London and Pentwater Capital Management, L.P.

                92.    Milbank continued to closely review numerous issues in connection with

 the Open Trades and related transactions involving the Debtors and those certain counterparties

 Fusion Funding Limited and Fusion Funding Luxembourg, S.A.R.L. (together, “Fusion”). The

 related transactions included a certain underlying loan purchase agreement among Lehman

 Bankhaus, Lehman Commercial Paper Inc. (“LCPI”), GE Corporate Financial Services, Inc.

 (“GE”), and Fusion, whereby LCPI and Bankhaus, among other things, agreed to sell and

 participate in certain loans to Fusion. In connection with the foregoing, Milbank spent

 considerable time, among other things, (i) analyzing numerous transactional documents, (ii)

 reviewing and drafting memoranda summarizing the potential claims in connection with the

 GE/Fusion transactions, (iii) working to resolve the related pleadings filed by GE, including

 GE’s objection to the Debtors’ second motion to assume or reject certain Open Trades, in which

 the Debtors had requested to assume the Fusion Open Trades, and GE’s related motion to lift




                                                43
08-13555-mg      Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00            Main Document
                                         Pg 58 of 75



 the automatic stay to terminate the Fusion Open Trades, and (iv) evaluating and discussing with

 the Debtors’ counsel the terms of settlement proposals resolving the claims and disputes among

 the parties.

                93.     During the Third Interim Compensation Period, Milbank continued to

 work with Debtors’ counsel and advisors, and consulted with creditor constituents, to assist in

 developing and finalizing Court-approved procedures to execute transactions involving

 unfunded commitments and loan restructurings. Milbank monitored, and continue to monitor,

 the Debtors’ compliance with the reporting requirements and internal protocols contemplated by

 the foregoing procedures, and summarized for the Committee the Debtors’ disclosures

 regarding monthly loan activity. Milbank, together with the Committee’s financial advisors,

 also reviewed various transactions and related motions involving the Debtors’ loan book,

 including, among others, the Debtors’ request to purchase certain debt of FieldPoint

 Communications, Inc.

                94.     Milbank worked closely with the Committee’s financial advisors to

 analyze and present the legal and financial implications of the Debtors’ loan book transactions

 to the Loan Book Subcommittee to facilitate its recommendations of responsive courses of

 action to the full Committee. To this end, the Loan Book Subcommittee frequently convened

 meetings to discuss and formulate such recommendations regarding all outstanding loan book

 matters.

EE.     Voidable Transfers and Other Potential Claims

                95.     During the Third Interim Compensation Period, Milbank devoted

 substantial time to researching and evaluating potential claims on behalf of the Debtors’ estates,

 including voidable transfer claims. In connection with voidable transfer claims, Milbank




                                                44
08-13555-mg        Doc 6203       Filed 12/14/09 Entered 12/14/09 21:39:00               Main Document
                                             Pg 59 of 75



 researched the law applicable to, and performed analyses of, potential preferential transfers to

 insiders and certain counterparties. Further, Milbank monitored the status of potential

 avoidance analyses and claims and drafted a memorandum with regard to the foregoing.

                                                    IV.

                               ALLOWANCE OF COMPENSATION

                   96.     The professional services rendered by Milbank have required a high

 degree of professional competence and expertise to address, with skill and dispatch, the

 numerous issues requiring evaluation and action by the Committee. Milbank respectfully

 submits that the services rendered to the Committee were performed efficiently, effectively and

 economically, and that the results obtained to date have benefited not only the members of the

 Committee, but also the unsecured creditors of each of the Debtors’ estates.

                   97.     The allowance of interim compensation for services rendered and

 reimbursement of expenses in bankruptcy cases is expressly provided for in section 331 of the

 Bankruptcy Code:

                  Any professional person . . . may apply to the court not more than once
                  every 120 days after an order for relief in a case under this title, or more
                  often if the court permits, for such compensation for services rendered . . .
                  as is provided under section 330 of this title.

11 U.S.C. § 331.

                   98.     With respect to the level of compensation, section 330(a)(1)(A) of the

 Bankruptcy Code provides, in pertinent part, that the Court may award to a professional person,

 “reasonable compensation for actual, necessary services rendered.” Section 330(a)(3), in turn,

 provides that:

                  In determining the amount of reasonable compensation to be awarded to
                  . . . [a] professional person, the court shall consider the nature, the extent,
                  and the value of such services, taking into account all relevant factors,
                  including –


                                                    45
08-13555-mg      Doc 6203       Filed 12/14/09 Entered 12/14/09 21:39:00           Main Document
                                           Pg 60 of 75



               (A)       the time spent on such services;

               (B)       the rates charged for such services;

               (C)       whether the services were necessary to the administration of, or
                         beneficial at the time which the service was rendered toward the
                         completion of, a case under this title;

               (D)       whether the services were performed within a reasonable amount
                         of time commensurate with the complexity, importance, and nature
                         of the problem, issue, or task addressed;

               (E)       with respect to a professional person, whether the person is board
                         certified or otherwise has demonstrated skill and expertise in the
                         bankruptcy field; and

               (F)       whether the compensation is reasonable based on the customary
                         compensation charged by comparably skilled practitioners in cases
                         other than cases under this title.

11 U.S.C. § 330(a)(3).

                99.      The congressional policy expressed above provides for adequate

 compensation in order to continue to attract qualified and competent professionals to

 bankruptcy cases. In re Busy Beaver Bldg. Ctrs., Inc., 19 F.3d 833, 850 (3d Cir. 1994)

 (“Congress rather clearly intended to provide sufficient economic incentive to lure competent

 bankruptcy specialists to practice in the bankruptcy courts.”) (citation and internal quotation

 marks omitted); In re Drexel Burnham Lambert Group, Inc., 133 B.R. 13, 18 (Bankr. S.D.N.Y.

 1991) (“Congress’ objective on requiring that the market, not the Court, establish attorneys’

 rates was to ensure that bankruptcy cases were staffed by appropriate legal specialists.”).

                100.     In assessing the “reasonableness” of the fees requested, courts have

 looked to a number of factors, including those first enumerated by the Fifth Circuit in In re First

 Colonial Corp. of America, 544 F.2d 1291, 1298-99 (5th Cir. 1977), and thereafter adopted by




                                                  46
08-13555-mg       Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                       Main Document
                                             Pg 61 of 75



 most courts.10 See In re Nine Assocs., Inc., 76 B.R. 943, 945 (S.D.N.Y. 1987) (adopting First

 Colonial/Johnson analysis); In re Cuisine Magazine, Inc., 61 B.R. 210, 212-13 (Bankr.

 S.D.N.Y 1986) (same); see generally 3 Collier on Bankruptcy ¶ 330.04[3] (Lawrence P. King,

 et al., eds., 15th ed. rev. 2009) (enumerating First Colonial and Johnson as the “leading cases to

 be considered in determining a reasonable allowance of compensation”). Milbank respectfully

 submits that the consideration of these so-called Johnson factors should result in this Court’s

 allowance of the full compensation requested.

       (A)      The Time and Labor Required. The Debtors’ cases are among the largest, most
                complex and active bankruptcy cases ever filed. Accordingly, the professional
                services rendered by Milbank on behalf of the Committee have required the
                continuous expenditure of substantial time and effort, under time pressures which
                sometimes required the performance of services late into the evening and, on a
                number of occasions, over weekends and holidays. The services rendered
                required a high degree of professional competence and expertise in order to be
                administered with skill and dispatch.

       (B)      The Novelty and Difficulty of Questions. Novel and complex issues have arisen
                in the course of these chapter 11 cases, and it can be anticipated that other such
                issues will be encountered. In these cases, as in many others in which the firm is
                involved, Milbank’s effective advocacy and creative approach to problem solving
                have helped clarify and resolve difficult issues and will continue to prove
                beneficial.

       (C)      The Skill Requisite to Perform the Legal Services Properly. Milbank believes
                that its recognized expertise in the area of financial restructuring, its ability to
                draw from highly experienced professionals in other areas of its practice such as
                securities, structured products, asset divestiture, litigation, and regulatory law and
                its practical approach to the resolution of issues help maximize the distributions to
                the unsecured creditors of each of the Debtors.

       (D)      The Preclusion of Other Employment by Applicant Due to Acceptance of the
                Case. Due to the size of Milbank’s financial restructuring department and the

10
       The factors embraced by the Fifth Circuit in First Colonial were first adopted by the Fifth Circuit’s decision
       in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974), except that First Colonial also
       included the “spirit of economy” as a factor expressly rejected by Congress in enacting section 330 of the
       Bankruptcy Code. Stroock & Stroock & Lavan v. Hillsborough Holdings Corp. (In re Hillsborough
       Holdings Corp.), 127 F.3d 1398, 1403 (11th Cir. 1997). A majority of the First Colonial factors are now
       codified in section 330(a)(3). 3 Collier on Bankruptcy ¶ 330.04[3].




                                                       47
08-13555-mg    Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                        Pg 62 of 75



              firm as a whole, Milbank’s representation of the Committee has not precluded the
              acceptance of new clients. However, the number of matters needing attention on
              a continuous basis has required numerous Milbank attorneys, across multiple
              practice groups, to commit significant portions of their time to these cases.

      (E)     The Customary Fee. The compensation sought herein is based upon Milbank’s
              normal hourly rates for services of this kind. Milbank respectfully submits that
              the compensation sought herein is not unusual given the magnitude and
              complexity of these cases and the time dedicated to the representation of the
              Committee. Such compensation is commensurate with fees Milbank has been
              awarded in other cases, as well as with fees charged by other attorneys of
              comparable experience.

      (F)     Whether the Fee is Fixed or Contingent. Milbank charges customary hourly rates
              for the time expended by its attorneys and paraprofessionals in representing the
              Committee, and Milbank’s fee is not outcome dependent.

      (G)     Time Limitations Imposed by Client or Other Circumstances. As stated above,
              Milbank has been required to attend to various issues as they have arisen in these
              cases. Often, Milbank has had to perform these services under significant time
              constraints requiring attorneys and paraprofessionals assigned to these cases to
              work evenings and on weekends.

      (H)     The Amount Involved and Results Obtained. The Committee represents the
              interests of unsecured creditors of each of the Debtors that, in the aggregate, hold
              unsecured claims estimated to be valued in the hundreds of billions of dollars, in
              what has been widely described as the largest chapter 11 cases ever filed. The
              Committee’s participation, with Milbank’s counsel and guidance, has greatly
              contributed to the efficient administration and prospects for reorganization of
              these cases.

      (I)     The Experience, Reputation and Ability of the Attorneys. Milbank has a
              sophisticated and nationally recognized corporate reorganization and financial
              restructuring practice, and Milbank attorneys involved in this representation have
              played a major role in numerous complex restructurings including, for example,
              the chapter 11 cases of Lyondell Chemical Company, Nortel Networks Inc.,
              Capmark Financial Group Inc., Hayes Lemmerz International, Inc., DBSD North
              America, Inc., Refco, Inc., Enron Corp., TOUSA, Inc., Vicorp, Interstate Bakeries
              Corp., Winn-Dixie Stores, Inc., Fruit of the Loom Inc., Adelphia Communications
              Corp., Maxxim Medical Group, Inc., RCN Corp., US Airways Group, Inc.,
              Global Crossing Ltd., Fleming Companies, Inc., Dairy Mart Convenience Stores,
              Inc., Lernout & Hauspie Speech Products N.V., Teligent, Inc., World Access,
              Inc., ORBCOMM Global, L.P., ICO Global Communications Inc., Safety-Kleen
              Corp., HomePlace Stores, Inc., Hvide Marine, Inc., Sun TV and Appliances, Inc.,
              Seven-Up/RC Bottling Company of Southern California, Inc. and Ames
              Department Stores, Inc. Milbank’s experience enables it to perform the services
              described herein competently and expeditiously.


                                               48
08-13555-mg      Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                          Pg 63 of 75



       (J)     The “Undesirability” of the Case. These cases are not undesirable but, as already
               indicated, have required a significant commitment of time from many of
               Milbank’s attorneys.

       (K)     Nature and Length of Professional Relationship. Milbank was selected as the
               Committee’s counsel shortly after the Committee’s formation, on September 17,
               2008, and was retained nunc pro tunc to that date pursuant to an order of the
               Court dated November 21, 2008. Milbank has been rendering services
               continuously to the Committee since the Committee was formed, and Milbank has
               rendered such services in a necessary and appropriate manner.

                101.    The total time spent by Milbank attorneys and paraprofessionals during

 the Third Interim Compensation Period was 18,854.50 hours and has a fair market value of

 $10,881,540.00. As shown by this Application and supporting exhibits, Milbank’s services

 were rendered economically and without unnecessary duplication of efforts. In addition, the

 work involved, and thus the time expended, was carefully assigned in consideration of the

 experience and expertise required for each particular task.

                                                 V.

                                           EXPENSES

                102.    Milbank has incurred a total of $583,803.10 in expenses in connection

 with representing the Committee during the Third Interim Compensation Period. Milbank

 records all expenses incurred in connection with the performance of professional services. A

 schedule of expenses by project billing category, as well as a summary of these expenses and

 detailed descriptions of these expenses, is annexed hereto as Exhibit “C.”

                103.    In connection with the reimbursement of expenses, Milbank’s policy is to

 charge its clients in all areas of practice for expenses, other than fixed and routine overhead

 expenses, incurred in connection with representing its clients. The expenses charged to

 Milbank’s clients include, among other things, telephone and telecopy toll and other charges,

 mail and express mail charges, special or hand delivery charges, photocopying charges, out-of-



                                                 49
08-13555-mg       Doc 6203         Filed 12/14/09 Entered 12/14/09 21:39:00                     Main Document
                                              Pg 64 of 75



 town travel expenses, local transportation expenses, expenses for working meals, computerized

 research and transcription costs.

                  104.     Milbank charges the Committee for these expenses at rates consistent

 with those charged to Milbank’s other bankruptcy clients, which rates are equal to or less than

 the rates charged by Milbank to its non-bankruptcy clients. Milbank seeks reimbursement from

 the Debtors at the following rates for the following expenses: (i) twenty cents ($0.20) per page

 for photocopying; (ii) no charge for incoming facsimiles; (iii) toll charges only for outgoing

 facsimiles; and (iv) an average of nineteen cents ($0.19) per minute for long distance.

 Specifically, with respect to phone charges over $100.00, such charges were accrued in

 connection with conference calls in which the Committee, the Debtors and/or other parties in

 interest participated.

                  105.     In accordance with section 330 of the Bankruptcy Code, the Local

 Guidelines and the U.S. Trustee Guidelines, Milbank seeks reimbursement only for the actual

 cost of such expenses to Milbank.11 Additionally, Milbank has further limited and defined its

 expenses in accordance with the guidelines set forth in the First Fee Committee Report.

                  106.     In providing or obtaining from third parties services which are

 reimbursable by clients, Milbank does not include in such reimbursable amount any costs of

 investment, equipment or capital outlay.

                  107.     Milbank regularly charges its non-bankruptcy clients for ordinary

 business hourly fees and expenses for secretarial, library, word processing and other staff



11
        The cost of expenses Milbank is seeking reflects any discounted rates based on volume or other discounts
        which Milbank anticipates receiving from certain outside vendors; however, Milbank does not perform a
        retrospective reconciliation of any “year-end” adjustments (positive or negative) to the actual discounted
        cost of such expenses.




                                                        50
08-13555-mg       Doc 6203    Filed 12/14/09 Entered 12/14/09 21:39:00           Main Document
                                         Pg 65 of 75



 services because such items are not included in the firm’s overhead for the purpose of setting

 the billing rates.

                 108.   Attorneys at Milbank have not incurred expenses for luxury

 accommodations or deluxe meals. The Application does not seek reimbursement of air travel

 expenses in excess of coach fares. Throughout the Second Interim Compensation Period,

 Milbank has been keenly aware of cost considerations and has tried to minimize the expenses

 charged to the Debtors’ estates.

                                               VI.

                                            NOTICE

                 109.   Notice of this Application has been given to (a) the Court, (b) counsel

 for the Debtors, and (c) the members of the Fee Committee.

                                               VII.

                                        CONCLUSION

                WHEREFORE, Milbank respectfully requests the Court to enter an order

conforming to the amounts set forth in Fee Schedule A(1) attached hereto as Exhibit “D”

(i) allowing Milbank (a) interim compensation for professional services rendered as counsel for

the Committee during the Third Interim Compensation Period in the amount of $10,881,540.00

and (b) reimbursement of expenses incurred in connection with rendering such services in the

aggregate amount of $583,803.10, for a total award of $11,465,343.10; (ii) authorizing and

directing the Debtors to pay to Milbank $3,984,690.14, which is an amount equal to the

difference between (i) this $11,465,343.10 award and (ii) $7,480,652.96, the total of all amounts

that the Debtors have previously paid to Milbank pursuant to the Interim Compensation Order




                                                51
08-13555-mg       Doc 6203       Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                            Pg 66 of 75



for services rendered and expenses incurred during the Third Interim Compensation Period; and

(iii) granting such further relief as is just.

Dated: New York, New York
       December 14, 2009



                                                 MILBANK, TWEED, HADLEY & McCLOY LLP

                                                 By: /s/ Dennis F. Dunne
                                                 Dennis F. Dunne
                                                 Dennis C. O’Donnell
                                                 Evan R. Fleck
                                                 1 Chase Manhattan Plaza
                                                 New York, New York 10005
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                                                 and

                                                 Paul Aronzon
                                                 601 South Figueroa Street, 30th Floor
                                                 Los Angeles, California 90017
                                                 Telephone: (213) 892-4000


                                                 Counsel for Official Committee of Unsecured
                                                 Creditors of Lehman Brothers Holdings Inc., et al.




                                                       52
08-13555-mg   Doc 6203   Filed 12/14/09 Entered 12/14/09 21:39:00   Main Document
                                    Pg 67 of 75




                               EXHIBIT A
                                  Certification
08-13555-mg        Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00         Main Document
                                              Pg 68 of 75



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------------- x
                                                               :
In re:                                                         :   Chapter 11 Case No.
                                                               :
LEHMAN BROTHERS HOLDINGS INC., et al., :                           08-13555 (JMP)
                                                               :
                               Debtors.                        :   (Jointly Administered)
                                                               :
-------------------------------------------------------------- x


    CERTIFICATION UNDER GUIDELINES FOR FEES AND DISBURSEMENTS
   FOR PROFESSIONALS IN RESPECT OF THIRD APPLICATION OF MILBANK,
               TWEED, HADLEY & McCLOY LLP, COUNSEL TO
     OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR INTERIM
      ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
        FOR REIMBURSEMENT OF EXPENSES DURING PERIOD FROM
        JUNE 1, 2009 THROUGH AND INCLUDING SEPTEMBER 30, 2009

                 Pursuant to the Guidelines for Fees and Disbursements for Professionals in

Southern District of New York Bankruptcy Cases adopted by the Court on June 24, 1991 and

amended April 21, 1995 (together, the “Local Guidelines”), and the United States Trustee

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

Under 11 U.S.C. § 330, adopted on January 30, 1996 (the “U.S. Trustee Guidelines” and,

together with the Local Guidelines, the “Guidelines”), the undersigned, a member of the firm

Milbank, Tweed, Hadley & McCloy LLP (“Milbank”), counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of Lehman Brothers Holdings Inc. and its affiliated

debtors in possession in the above-captioned cases (collectively, the “Debtors”), hereby certifies

with respect to Milbank’s third application for allowance of compensation for services rendered

and for reimbursement of expenses, dated December 14, 2009 (the “Application”), for the period
08-13555-mg       Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                     Main Document
                                             Pg 69 of 75



of June 1, 2009 through and including September 30, 2009 (the “Third Interim Compensation

Period”) as follows:

                1.     I am the professional designated by Milbank in respect of compliance with

the Guidelines.

                2.     I make this certification in support of the Application, for interim

compensation and reimbursement of expenses for the Third Interim Compensation Period, in

accordance with the Local Guidelines.

                3. In respect of section B.1 of the Local Guidelines, I certify that:

                         a.       I have read the Application.

                         b.       To the best of my knowledge, information and belief formed after
                                  reasonable inquiry, the fees and disbursements sought fall within
                                  the Guidelines.

                         c.       Except to the extent that fees or disbursements are prohibited by
                                  the Guidelines, the fees and disbursements sought are billed at
                                  rates in accordance with practices customarily employed by
                                  Milbank and generally accepted by Milbank’s clients.

                         d.       In providing a reimbursable service, Milbank does not make a
                                  profit on that service, whether the service is performed by Milbank
                                  in-house or through a third party.1

                4. In respect of section B.2 of the Local Guidelines, I certify that Milbank has

provided statements of Milbank’s fees and disbursements previously accrued, by filing and

serving monthly statements in accordance with the Interim Compensation Order (as defined in

the Application), except that completing reasonable and necessary internal accounting and

review procedures have at times precluded filing fee statements within the time periods

established in the Interim Compensation Order.

1
       The cost of expenses Milbank is seeking reflects any discounted rates based on volume or other discounts
       which Milbank anticipates receiving from certain outside vendors; however, Milbank does not perform a
       retrospective reconciliation of any “year-end” adjustments (positive or negative) to the actual discounted
       cost of such expenses.


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08-13555-mg     Doc 6203      Filed 12/14/09 Entered 12/14/09 21:39:00             Main Document
                                         Pg 70 of 75



               5. In respect of section B.3 of the Local Guidelines, I certify that copies of the

Application are being provided to (a) the Court, (b) the Debtors, (c) counsel for the Debtors, (d)

the Office of the United States Trustee, and (e) the members of the Fee Committee.

               6. I certify that the Application for interim compensation and reimbursement of

expenses for the Third Interim Compensation Period has been prepared in accordance with the

guidelines furnished in the First Fee Committee Report (as defined in the Application).

Dated:         New York, New York
               December 14, 2009


                                              By:    /s/ Dennis F. Dunne
                                                         Dennis F. Dunne




                                                 3
08-13555-mg      Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                       Main Document
                                            Pg 71 of 75




                                           EXHIBIT B
                                          Time Entry Records1




1
      Due to the volume of the time and expense records, these materials are not being filed with the Court, but
      copies thereof have been delivered to (i) the Court; (ii) the United States Trustee; (iii) the Debtors; (iv)
      counsel for the Debtors; and (v) the members of the Fee Committee.
08-13555-mg      Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                       Main Document
                                            Pg 72 of 75




                                           EXHIBIT C
                                                  Expenses1




1
      Due to the volume of the time and expense records, these materials are not being filed with the Court, but
      copies thereof have been delivered to (i) the Court; (ii) the United States Trustee; (iii) the Debtors; (iv)
      counsel for the Debtors; (v) the members of the Fee Committee.
08-13555-mg   Doc 6203   Filed 12/14/09 Entered 12/14/09 21:39:00   Main Document
                                    Pg 73 of 75
                                                                      12/14/20096




                               EXHIBIT D
                                Fee Schedule A(1)
                       08-13555-mg    Doc 6203     Filed 12/14/09 Entered 12/14/09 21:39:00        Main Document
                                                              Pg 74 of 75



CASE NO.: 08-13555 (JMP) (Jointly Administered)

CASE NAME: IN RE LEHMAN BROTHERS HOLDINGS INC., et al.


                                                 FIRST INTERIM FEE PERIOD
                                             SEPTEMBER 17, 2008 – JANUARY 31, 2009
       APPLICANT           DATE/DOCKET          FEES              FEES         FEES HELD       FEES PAYABLE       EXPENSES      EXPENSES
                              NO. OF         REQUESTED         ALLOWED           BACK           BY DEBTOR        REQUESTED      ALLOWED
                           APPLICATION                        (INCLUDING
                                                               FEES HELD
                                                                 BACK)
Milbank, Tweed, Hadley &      4/10/09        $12,132,376.00   $12,062,385.96   $1,213,237.60   $2,402,821.16     $668,388.72    $668,388.72
McCloy LLP                 Docket No. 3337


                                                   SECOND INTERIM FEE PERIOD
                                                  FEBRUARY 1, 2009 – MAY 31, 2009
       APPLICANT           DATE/DOCKET          FEES              FEES         FEES HELD          FEES          EXPENSES       EXPENSES
                              NO. OF         REQUESTED         ALLOWED           BACK          PAYABLE BY      REQUESTED       ALLOWED
                           APPLICATION                        (INCLUDING                         DEBTOR
                                                               FEES HELD
                                                                 BACK)
Milbank, Tweed, Hadley &      8/14/09        $16,829,521.00   $16,517,786.18   $1,682,952.10   $3,266,539.20   $1,019,754.61   $1,019,754.61
McCloy LLP                 Docket No. 4821


                                                    THIRD INTERIM FEE PERIOD
                                                  JUNE 1, 2009 – SEPTEMBER 30, 2009
       APPLICANT           DATE/DOCKET          FEES              FEES         FEES HELD          FEES          EXPENSES       EXPENSES
                              NO. OF         REQUESTED         ALLOWED           BACK          PAYABLE BY      REQUESTED       ALLOWED
                           APPLICATION                        (INCLUDING                         DEBTOR
                                                               FEES HELD
                                                                 BACK)



FEE SCHEDULE A(1)
                           08-13555-mg         Doc 6203        Filed 12/14/09 Entered 12/14/09 21:39:00                  Main Document
                                                                          Pg 75 of 75



Milbank, Tweed, Hadley &            12/14/09             10,881,540.00             []            $1,088,154.00      3,984,690.141        583,803.10            583,803.10
McCloy LLP                        Docket No. [x]




1
       The amount requested on account of fees and expenses incurred by Milbank during the Third Interim Compensation Period was $419,548.50 less than the sum of fees and
       expenses set forth in the Fee Statements served during the Third Interim Compensation Period.


FEE SCHEDULE A(1)
